           Case 22-19361-MBK                        Doc  2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                      BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                                  Desc
                                                   Creditor Responses- Part 2 Page 1 of 211
 BlockFi Seventeenth Omnibus Objection Response Portal
 Introduction

 On November 28, 2022, BlockFi Inc. and 8 affiliated debtors (collectively, "BlockFi") each filed a voluntary pe ition for relief under Chapter 11 of the United States Bankruptcy
 Code in the United States Bankruptcy Court for the District of New Jersey (the “Court”). Thereafter, the Bankruptcy Court set March 31, 2023, at 5:00 p m., as the deadline
 for all persons and entities that assert a claim against BlockFi, arising prior to November 28, 2022, to imely file a proof of claim.


 On March 4, 2024, BlockFi, as supervised by the Plan Administrator, filed the Wind-Down Debtors’ Seventeenth Omnibus Objection to Claims (the “Objection”). If you filed a
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 In order to assist he Court with collecting responses to the Objection, Kroll is collecting responses electronically through this portal or by hard copy at the address below.
 For your response to be timely, it must be received by Kroll on or before April 2, 2024 at 4:00 p.m. prevailing Eastern Time. PLEASE NOTE THAT YOU DO NOT
 NEED TO FILE A RESPONSE IF YOU AGREE WITH THE PROPOSED MODIFICATION OR EXPUNGEMENT OF YOUR CLAIM.


                                                                                   First Class Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                          Grand Central Station, PO Box 4850
                                                                              New York, NY 10163-4850


                                                                                   Overnight Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                             850 Third Avenue, Suite 412
                                                                                 Brooklyn, NY 11232


 Please follow the steps below to logon to this portal and to submit your response to he Objection. If you have any questions on this portal please feel free to reach out to
 Kroll by phone at (888) 773-0375 (Toll Free) or (646) 440-4371 (International), or by email at blockfiinfo@ra.kroll.com.




 Logon

 On or around March 8, 2024, Kroll sent you an email or mail package regarding BlockFi’s Objection. This
 email or mail package contains a 16-digit Unique ID number. Please enter the Unique ID number in the
 field below to enter this portal. Make one submission per Unique ID number. Each Unique ID may be used
 only once.
 Please enter your Unique ID here

   QQXA-KHM7-A2J2-AF36


     Where can I find my Unique ID?




 Claim Information

 Claim Number

   27266

 Claim Name




 Claimant Address on File




 To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
 where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.




BlockFi Seventeenth Omnibus Objection Response Portal                                    1/3
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                                                BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                 Desc
                                             Creditor Responses- Part 2 Page 2 of 211
 Name:




 Street1




 Street2




 City




 State




 Zip




 Country




 Telephone Number




 Email Address




 To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
 settle, or otherwise resolve the Motion on your behalf.
 Name:




 Street1




 Street2




 City




 State




 Zip




 Country




 Telephone Number




 Email Address




BlockFi Seventeenth Omnibus Objection Response Portal                          2/3
Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32   Desc
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    Hello,

    Claim number 27266

    The plaintiff's name is

    Unique ID: QQXA-KHM7-A2J2-AF36



    I do not agree with the payment amount. Please transfer funds in crypto as it is.

    Polkadot

    872.78323155 DOT

                                                                 at this address

    Chainlink

    202.18542596 LINK

                                                           at this address

    thank you




                                                  1
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                                                      BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                                  Desc
                                                   Creditor Responses- Part 2 Page 5 of 211
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                                                                                   First Class Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                          Grand Central Station, PO Box 4850
                                                                              New York, NY 10163-4850


                                                                                   Overnight Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                             850 Third Avenue, Suite 412
                                                                                 Brooklyn, NY 11232


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 Kroll by phone at (888) 773-0375 (Toll Free) or (646) 440-4371 (International), or by email at blockfiinfo@ra.kroll.com.




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 email or mail package contains a 16-digit Unique ID number. Please enter the Unique ID number in the
 field below to enter this portal. Make one submission per Unique ID number. Each Unique ID may be used
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 Please enter your Unique ID here

   GDEV-8P3D-CU23-5F4K


     Where can I find my Unique ID?




 Claim Information

 Claim Number

   20183

 Claim Name




 Claimant Address on File




 To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
 where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.




BlockFi Seventeenth Omnibus Objection Response Portal                                    1/3
           Case 22-19361-MBK                  Doc  2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                BlockFi Seventeenth Omnibus Objection Response Portal
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                                             Creditor Responses- Part 2 Page 6 of 211
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 Street1




 Street2




 City




 State




 Zip




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BlockFi Seventeenth Omnibus Objection Response Portal                          2/3
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Through many sources, it looks like Block FI would be able to recuperate all the assets lost
during the FTX debacle. Last time I checked, this account had a balance of .4231 Bitcoin (BTC).
BTC has a current value of $66,482.60. This equates to a total value of $28,128.79. What elese
is required by me to claim this total value.
          Case 22-19361-MBK                         Doc  2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                      BlockFi Seventeenth Omnibus Objection Response Portal
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 Please enter your Unique ID here

   XFXS-PYHH-SPAD-3TCG


     Where can I find my Unique ID?




 Claim Information

 Claim Number

   564

 Claim Name




 Claimant Address on File




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BlockFi Seventeenth Omnibus Objection Response Portal                                    1/3
           Case 22-19361-MBK                 Doc   2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
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                                            Creditor Responses- Part 2 Page 10 of 211
 Name:




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BlockFi Seventeenth Omnibus Objection Response Portal                          2/3
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BlockFi Bankruptcy Objection to Claim

I,                   , am submitting these forms to amend my claim and object to being
expunged. I am amebding my claim amount from the original claim of $11,646.49 to the
accurate claim amount of $10,121.14 and BIA Interest amount of $17.42.
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                  BLOCKFI INC. — GUIDE TO FILLING OUT YOUR PROOF OF CLAIM FORM(S)

Dear BlockFi Client:

You are receiving this package because you are a client of BlockFi who BlockFi believes is a creditor in our Chapter
11 cases.

As part of the Chapter 11 process, BlockFi filed Schedules of Assets and Liabilities with the Court (the “Schedules”).
The Schedules include Schedule F, which lists all of the unsecured claims that BlockFi believes clients, vendors, and
other interested parties have against the estate.

You can check how BlockFi has listed your claim(s) in the Schedules in this package. Additionally, you can check how
BlockFi has listed your claim(s) in the Schedules, as well as your BlockFi Wallet account balances, by visiting the
website of our claims agent, Kroll, at the following link: https://restructuring.ra.kroll.com/blockfi/EPOC-Index. Please be
advised that the Schedule amounts will be listed in U.S. dollars based on coin values as of November 28, 2022, the
day BlockFi filed chapter 11.

If your scheduled claim information and Wallet account balance(s) are correct, then you do not need to file a
claim and no further action is required at this time.

If you believe that your scheduled claim information and/or Wallet account balance information is incorrect or
incomplete, or if you believe that you have a claim or claims against one or more Debtors separate and apart
from you scheduled claim information, you must file a proof of claim.


   THIS LETTER SHOULD NOT BE CONSTRUED AS PROVIDING LEGAL ADVICE AND WAS NOT INTENDED OR
    WRITTEN TO BE USED FOR THE PURPOSE OF OFFERING LEGAL ADVICE TO THE PARTIES ADDRESSED
    HEREIN. INDIVIDUALS OR ENTITIES IN RECEIPT OF THIS LETTER SHOULD CONSULT WITH THEIR OWN
            INDEPENDENT LEGAL COUNSEL FOR THE PURPOSE OF OBTAINING LEGAL ADVICE.


When Must I Submit My Proof of Claim Forms?

The bar date, or deadline for you to submit your proof of claim form(s), is 5:00 P.M. (prevailing Eastern Time) on
March 31, 2023.

What Did I Receive in this Package?

This package contains (a) one or more customized Proof of Claim Form(s); and (b) the Court-approved Bar Date
Notice. This package also contains information about your scheduled claim(s). You should review your scheduled claim
information to determine whether you need to file a claim.

Which Customized Proof of Claim Form(s) Did I Receive?

    ●   If you have one or more BlockFi Wallet account(s), then you should have received a Wallet Account Holder
        Proof of Claim Form.
    ●   If you have one or more Interest-Bearing Account(s) and/or BlockFi Private Client Fixed or Open
        Loan(s), then you should have received an Interest Bearing Account Holder Proof of Claim Form.
    ●   If you have posted Collateral for a Loan with BlockFi, then you should have received a Loan Account
        Holder Proof of Claim Form.


                                                            1
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If you believe you should have received a Proof of Claim Form for one of the above listed products and have not, you
may       download      the     applicable   form    from  the     Kroll   website      at   the    following   link:
https://restructuring.ra.kroll.com/blockfi/EPOC-Index.

How Do I Check My Scheduled Claim Amount?

In addition to the information contained in this package, you should have received an email from Kroll with your
scheduled claim information. You should review your scheduled claim information to determine whether you need to
file a claim.       This Guide can also be found online via the Kroll website at the following link:
https://restructuring.ra.kroll.com/blockfi/EPOC-Index.

Clients can also view their scheduled claim information and account balances electronically via the Kroll website at the
following link: https://restructuring.ra.kroll.com/blockfi/EPOC-Index.

For security purposes to protect your account information, you will need your BlockFi Account ID as well as the email
address(es) associated with your account to access this information. Please see the section titled “How Do I Locate
My Account ID?” for instructions on how to locate your BlockFi Account ID. Upon entering this information, Kroll will
email you an access code that can be used to access your scheduled claim information and BlockFi account balance.

How Do I Locate My Account ID?

1. Login to your BlockFi account:
2. Go to the top right corner, click the arrow, and select “Reports.”
3. Your Account ID can be found under the Reports header.

Why Weren’t Wallet Account Balances Included in the Schedules and How Can I Check My Wallet Account
Balance?

It is our belief that clients unambiguously own the digital assets in their BlockFi Wallet accounts. Accordingly, BlockFi
did not include Wallet account balances on the Schedules.

You can access your Wallet account balance(s) as of the platform pause on November 10, 2022 at 8:15pm (prevailing
Eastern Time) (equivalent to November 11, 2022 at 1:15am UTC) (the “Platform Pause”) by visiting Kroll’s website at
the following link:

If you believe that your Wallet account balance information is incorrect or incomplete, you can file a proof of claim.
Instructions on how to file your Wallet Account Proof of Claim Form can be found below in the section titled: “How Do
I File My Proof of Claim Form?”

How Do I Understand My Scheduled Claim Amount for Item 7a of the Customized Proof of Claim Form?

Please use the following instructions to understand your scheduled claim amount for Item 7a of the Customized Proof
of Claim Form(s).

Interest-Bearing Accounts

If you have not attempted any transactions after the Platform Pause, do the following:

1. Login to your BlockFi account.
2. Go to the Accounts drop down and select Interest Account.
3. Scroll down to the ‘Your Assets’ section to note the quantity of each digital asset. This is your in-kind coin balance
                                                           2
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   that you will use to fill in the table in part 7b of the Proof of Claim Form.
4. Multiply the in-kind coin balance by the price listed in the column titled “Price as of November 28, 2022, at 11:59
   p.m. UTC” in Item 7b of the Proof of Claim Form. This will convert the in-kind value to U.S. dollars at the time of
   filing on November 28, 2022.
5. Fill in Item 7a in the spaces provided. This aggregate U.S. dollar amount by product replicates the process BlockFi
   used to determine your scheduled claim information enclosed in this packet.

If you attempted any transactions after the Platform Pause, do the following:

If you did attempt to execute a transaction or trade after November 11, 2022 at 1:15am UTC (equivalent to November
10, 2022 at 8:15pm ET), your account balances as displayed on the user interface may not properly reflect underlying
balances at the time of the Platform Pause, which serve as the basis of the claim BlockFi filed in Schedule F. You may
use the timestamps in the transaction history section of your BlockFi app to determine your in-kind coin amounts at the
time of the Platform Pause, which BlockFi used to calculate your scheduled claim.

1. Login to your BlockFi account.
2. Go to the Accounts drop down and select Interest Account.
3. Scroll down to the ‘Your Assets’ section to note the quantity of each digital asset. Note this quantity.
4. Return to the Dashboard and scroll down to the ‘Transactions’ section.
5. Review any transactions on or after November 11, 2022. You will need to click each transaction to see the
   timestamp, which is denoted in Coordinated Universal Time (UTC). Any transaction in the user interface after
   November 11, 2022, at 1:15am UTC (equivalent to November 10, 2022 at 8:15pm ET of the Platform Pause) was
   considered by BlockFi to be after the Platform Pause.
6. Add the values in the Description column under the ‘Transactions’ section that are after this timestamp to the
   quantities by currency noted in step 3. This should now be your in-kind coin balance that BlockFi used to schedule
   your claim.
7. Multiply the quantity of in-kind coin balance amounts by the price listed in the column titled “Price as of November
   28, 2022, at 11:59 p.m. UTC” in Item 7b of the Proof of Claim Form. This will convert the in-kind value to U.S.
   dollars at the time of filing on November 28, 2022.
8. Fill in Item 7a in the spaces provided. This aggregate U.S. dollar amount by product replicates the process BlockFi
   used to determine your scheduled claim information enclosed in this packet.

Retail Crypto-Backed Loans

1. Login to your BlockFi account
2. Go to the Accounts drop down and select Loans
3. Scroll down to the ‘Funded Loans’ section to note the collateral amount by currency for each open loan.
4. Add the collateral amount for all the same currency. This is your in-kind coin balance to use in section 7b of the
   Proof of Claim Form in the Loan Collateral column.
5. Multiply the in-kind coin balance amounts by the price listed in the column titled “Price as of November 28, 2022,
   at 11:59 p.m. UTC” in Item 7b of the Proof of Claim Form. This will convert the in-kind value to U.S. dollars at the
   time of filing on November 28, 2022.
6. Fill in Item 7a in the spaces provided. This aggregate U.S. dollar amount by product replicates the process BlockFi
   used to determine your scheduled claim information enclosed in this packet.

Wallet

BlockFi Wallet balances are not included as a scheduled claim amount. However, if you believe amounts are incorrect
or incomplete, you may file a Wallet Account Holder Proof of Claim Form.

If you have not attempted any transactions after the Platform Pause, do the following:


                                                          3
     Case 22-19361-MBK            Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32                          Desc
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1. Login to your BlockFi account
2. Go to the Accounts drop down and select Wallet
3. Scroll down to the ‘Your Assets’ section to note the quantity of each digital asset. This is your in-kind coin balance
   that you will use to fill in the table in part 7b of the Proof of Claim Form.
4. Multiply the in-kind coin balance by the price listed in the column titled “Price as of November 28, 2022, at 11:59
   p.m. UTC” in Item 7b of the Proof of Claim Form. This will convert the in-kind value to U.S. dollars at the time of
   filing on November 28, 2022.
5. Fill in Item 7a in the spaces provided.

If you attempted any transactions after the Platform Pause, do the following:

1. Login to your BlockFi account.
2. Go to the Accounts drop down and select Wallet.
3. Scroll down to the ‘Your Assets’ section to note the quantity of each digital asset. Note this quantity.
4. Return to the Dashboard and scroll down to the ‘Transactions’ section.
5. Review any transactions on or after November 11, 2022. You will need to click each transaction to see the
   timestamp, which is denoted in Coordinated Universal Time (UTC). Any transaction in the user interface after
   November 11, 2022, at 1:15am UTC (equivalent to November 10, 2022 at 8:15pm ET of the Platform Pause) was
   considered by BlockFi to be after the Platform Pause.
6. Subtract the values in the Description column under the ‘Transactions’ section that are after this timestamp from
   the quantities by currency noted in step 3. This should now be your in-kind coin balance that BlockFi included on
   the Schedule of Financial Affairs, Question 21.
7. Multiply the quantity of in-kind coin balance amounts by the price listed in the column titled “Price as of November
   28, 2022, at 11:59 p.m. UTC” in Item 7b of the Proof of Claim Form. This will convert the in-kind value to U.S.
   dollars at the time of filing on November 28, 2022.
8. Fill in Item 7a in the spaces provided.

Why am I receiving this information if I am not a Retail client of BlockFi?

Institutional loan clients can use a similar methodology to the above using their contracts with BlockFi. All other parties
can use the standard, non-customer proof of claim form, which can be downloaded from via Kroll’s website or submitted
electronically by visiting the following link: https://restructuring.ra.kroll.com/blockfi/EPOC-Index.

How Do I File My Proof of Claim Form?

To file a proof of claim electronically, please go to https://restructuring.ra.kroll.com/blockfi/EPOC-Index. If submitted
electronically using the Online Claim Filing Portal, additional hard-copy submission is not necessary. Please note that
submission of claim forms via email and/or facsimile is not permitted.

To file a claim by mail, completed hard copy proof of claim forms can be sent to the following address:

 If by first class mail:                                        If by hand delivery, or overnight courier:
           BlockFi Inc. Claims Processing Center                         BlockFi Inc. Claims Processing Center
           c/o Kroll Restructuring Administration LLC                    c/o Kroll Restructuring Administration LLC
           Grand Central Station, PO Box 4850                            850 3rd Avenue, Suite 412
           New York, NY 10163-4850                                       Brooklyn, NY 11232

We understand that you may have questions during this process. Additional information regarding BlockFi’s chapter
11 case, including the proof of claim process, can be found by visiting Kroll’s website at:
https://restructuring.ra.kroll.com/blockfi. Clients may contact Kroll at (888) 773-0375 (Toll Free) or (646) 440-4371
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          Case 22-19361-MBK                        Doc   2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                      BlockFi Seventeenth Omnibus Objection Response Portal
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 NEED TO FILE A RESPONSE IF YOU AGREE WITH THE PROPOSED MODIFICATION OR EXPUNGEMENT OF YOUR CLAIM.


                                                                                   First Class Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                          Grand Central Station, PO Box 4850
                                                                              New York, NY 10163-4850


                                                                                   Overnight Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                             850 Third Avenue, Suite 412
                                                                                 Brooklyn, NY 11232


 Please follow the steps below to logon to this portal and to submit your response to he Objection. If you have any questions on this portal please feel free to reach out to
 Kroll by phone at (888) 773-0375 (Toll Free) or (646) 440-4371 (International), or by email at blockfiinfo@ra.kroll.com.




 Logon

 On or around March 8, 2024, Kroll sent you an email or mail package regarding BlockFi’s Objection. This
 email or mail package contains a 16-digit Unique ID number. Please enter the Unique ID number in the
 field below to enter this portal. Make one submission per Unique ID number. Each Unique ID may be used
 only once.
 Please enter your Unique ID here

   PWU9-D2EM-QXVH-PMNV


     Where can I find my Unique ID?




 Claim Information

 Claim Number

   775

 Claim Name




 Claimant Address on File




 To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
 where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.




BlockFi Seventeenth Omnibus Objection Response Portal                                    1/3
           Case 22-19361-MBK                 Doc   2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                 Desc
                                            Creditor Responses- Part 2 Page 24 of 211
 Name:




 Street1




 Street2




 City




 State




 Zip




 Country




 Telephone Number




 Email Address




 To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
 settle, or otherwise resolve the Motion on your behalf.
 Name:




 Street1




 Street2




 City




 State




 Zip




 Country




 Telephone Number




 Email Address




BlockFi Seventeenth Omnibus Objection Response Portal                          2/3
Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32   Desc
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                    Case 22-19361-MBK            Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32                            Desc
                                                Creditor Responses- Part 2 Page 26 of 211



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                                                      Exhibit A: Asserted Claims




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                                                                                                           $1070.34‐BlockFi
      775                                       $0                    $0                    $0                                             Yes
                                                                                                                 Inc.




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Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32   Desc
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          Case 22-19361-MBK                        Doc   2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                      BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                                  Desc
                                                  Creditor Responses- Part 2 Page 28 of 211
 BlockFi Seventeenth Omnibus Objection Response Portal
 Introduction

 On November 28, 2022, BlockFi Inc. and 8 affiliated debtors (collectively, "BlockFi") each filed a voluntary pe ition for relief under Chapter 11 of the United States Bankruptcy
 Code in the United States Bankruptcy Court for the District of New Jersey (the “Court”). Thereafter, the Bankruptcy Court set March 31, 2023, at 5:00 p m., as the deadline
 for all persons and entities that assert a claim against BlockFi, arising prior to November 28, 2022, to imely file a proof of claim.


 On March 4, 2024, BlockFi, as supervised by the Plan Administrator, filed the Wind-Down Debtors’ Seventeenth Omnibus Objection to Claims (the “Objection”). If you filed a
 claim against BlockFi and your claim is affected by the Objection, the Objection and information pertaining to your claim was sent to you by Kroll Restructuring Administration
 LLC (“Kroll”) by email or first class mail on or around March 8, 2024.

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                                                                                   First Class Mail


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                                                                     c/o Kroll Restructuring Administration LLC
                                                                          Grand Central Station, PO Box 4850
                                                                              New York, NY 10163-4850


                                                                                   Overnight Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                             850 Third Avenue, Suite 412
                                                                                 Brooklyn, NY 11232


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 field below to enter this portal. Make one submission per Unique ID number. Each Unique ID may be used
 only once.
 Please enter your Unique ID here

   PQHT-NZH8-WX6R-SUSA


     Where can I find my Unique ID?




 Claim Information

 Claim Number

   2483

 Claim Name




 Claimant Address on File




 To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
 where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.




BlockFi Seventeenth Omnibus Objection Response Portal                                    1/3
           Case 22-19361-MBK                 Doc   2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                 Desc
                                            Creditor Responses- Part 2 Page 29 of 211
 Name:




 Street1




 Street2




 City




 State




 Zip




 Country




 Telephone Number




 Email Address




 To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
 settle, or otherwise resolve the Motion on your behalf.
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BlockFi Seventeenth Omnibus Objection Response Portal                          2/3
Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32   Desc
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Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32   Desc
                    Creditor Responses- Part 2 Page 31 of 211
Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32   Desc
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           Case 22-19361-MBK                       Doc   2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                      BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                                  Desc
                                                  Creditor Responses- Part 2 Page 34 of 211
 BlockFi Seventeenth Omnibus Objection Response Portal
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                                                                                   First Class Mail


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                                                                     c/o Kroll Restructuring Administration LLC
                                                                          Grand Central Station, PO Box 4850
                                                                              New York, NY 10163-4850


                                                                                   Overnight Mail


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                                                                             850 Third Avenue, Suite 412
                                                                                 Brooklyn, NY 11232


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 Please enter your Unique ID here

   AAUF-PB86-TQ7A-GNNE


     Where can I find my Unique ID?




 Claim Information

 Claim Number

   34162

 Claim Name




 Claimant Address on File




 To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
 where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.




BlockFi Seventeenth Omnibus Objection Response Portal                                    1/3
           Case 22-19361-MBK                 Doc   2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                 Desc
                                            Creditor Responses- Part 2 Page 35 of 211
 Name:




 Street1




 Street2




 City




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BlockFi Seventeenth Omnibus Objection Response Portal                          2/3
Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32   Desc
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Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32   Desc
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            Case 22-19361-MBK                       Doc    2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                     BlockFi Inc. Interest Bearing Account Holder Proof of Claim Form
                                                                                                                                                                   Desc
                                                   Creditor Responses- Part 2 Page 38 of 211
 BlockFi Inc. Interest Bearing Account Holder Proof of Claim Form
 Electronic Proof of Claim ID

  If you have an EPOC ID please enter it below and select next to proceed with your claim submission. EPOC IDs can
  be located on the pre-printed proof of claim forms sent via first-class mail.
  EPOC ID




  EPOC IDs are not required to submit a claim. If you cannot locate your EPOC ID or do not have an EPOC ID, please
  select next to continue with your claim submission.



 Instructions

  Read the instructions before filling out this form. This form is for making a claim based on assets held in account of the Debtors. Do not use this form to assert any other
  pre-petition claims. Do not use this form to make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.


  Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any documents that support the
  claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments, mortgages, and security agreements. Do not
  send original documents; they may be destroyed after scanning. If the documents are not available, explain in an attachment.


  A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.


  Fill in all the information about the claim as of the date the case was filed (November 28, 2022).

      Check here to see further instructions on completing your claim form:




 Debtor Selection

  If you have one or more Interest-Bearing accounts (i.e. BlockFi Interest Accounts or BlockFi Private Client Fixed or Open Loans), fill in this information to identify the case:
      U.S. client
      Non-U.S. client

      BlockFi International Ltd. (Case No. 22-19368)
      Other




 Claim Information

  1. Who is the current creditor?




  Other names the creditor used with the debtor




  Customer Identification Number(s):




  Email Address Used to Sign Up for your BlockFi Account(s):




  2. Has this claim been acquired from someone else?
      No
      Yes

  3. Where should notices and payments to the creditor be sent?
  [Federal Rule of Bankruptcy Procedure (FRBP) 2002(g)]


BlockFi Inc. Interest Bearing Account Holder Proof of Claim Form                        1 / 11
                Case 22-19361-MBK                   Doc    2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                     BlockFi Inc. Interest Bearing Account Holder Proof of Claim Form
                                                                                                                                                                 Desc
                                                   Creditor Responses- Part 2 Page 39 of 211
  Where should notices to the creditor be sent?

  Name:




  Address 1 (Street address, “Care of:”, or “Attention To:”):




  Address 2:




  Address 3:




  Address 4:




  City:




  State or Province (use 2-letter abbreviation if US or Canada):




  Zip Code | Postal Code:




  Is the creditor address outside of the US?
          No
          Yes

  Contact phone:




  Contact email:




  Should payments go to a different address?
          No
          Yes

  Would you like to add any additional noticing addresses?
          No
          Yes

  4. Does this claim amend one already filed?
          No
          Yes

  5. Do you know if anyone else has filed a proof of claim for this claim?
          No
          Yes

  6. Do you have any number you use to identify the debtor?
          No
          Yes




 Claim Amount

  * 7a. To the extent that you assert a claim that is denominated in US Dollars, list the value of the claim in US Dollars as of the date the case was filed (November 28, 2022)

  BlockFi Interest Account (BlockFi International Ltd.; Case No. 22-19368)




BlockFi Inc. Interest Bearing Account Holder Proof of Claim Form                       2 / 11
          Case 22-19361-MBK                        Doc    2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                    BlockFi Inc. Interest Bearing Account Holder Proof of Claim Form
                                                                                                                                                             Desc
                                                  Creditor Responses- Part 2 Page 40 of 211
  BlockFi Private Client Fixed or Open Loans (BlockFi International Ltd.; Case No. 22-19368)




  * 7b. List the number of each type of coin held in your Wallet account(s) as of the date the case was filed (November 28, 2022) (i.e., list the IN KIND COIN BALANCE in your
  Wallet account(s) as of the date the case was filed).


  Please use only numerals and decimals in the BlockFi Interest Account(s) and BlockFi Private Client Fixed or Open Loans fields, up to a maximum of 21 digits or 20 digits
  and 1 decimal.

                                                                                                              Interest Bearing Accounts

  Coin                                        Price as of November 28, 2022, at 11:59    BlockFi Interest Account(s)                 BlockFi Private Client Fixed or Open
                                              p.m. UTC                                                                               Loans

   Bitcoin (BTC)                                $ 16,206.3000                             0.53554522


  Coin                                        Price as of November 28, 2022, at 11:59    BlockFi Interest Account(s)                 BlockFi Private Client Fixed or Open
                                              p.m. UTC                                                                               Loans

   Ethereum (ETH)                               $ 1,167.2400                              6.69144015


  Coin                                        Price as of November 28, 2022, at 11:59    BlockFi Interest Account(s)                 BlockFi Private Client Fixed or Open
                                              p.m. UTC                                                                               Loans

   Gemini Dollar (GUSD)                         $ 1.0000                                  144.86


  Coin                                        Price as of November 28, 2022, at 11:59    BlockFi Interest Account(s)                 BlockFi Private Client Fixed or Open
                                              p.m. UTC                                                                               Loans

   USD Coin (USDC)                              $ 1.0000


  Coin                                        Price as of November 28, 2022, at 11:59    BlockFi Interest Account(s)                 BlockFi Private Client Fixed or Open
                                              p.m. UTC                                                                               Loans

   1inch Network1 (INCH)                        $ 0.5170


  Coin                                        Price as of November 28, 2022, at 11:59    BlockFi Interest Account(s)                 BlockFi Private Client Fixed or Open
                                              p.m. UTC                                                                               Loans

   Aave (AAVE)                                  $ 60.1500


  Coin                                        Price as of November 28, 2022, at 11:59    BlockFi Interest Account(s)                 BlockFi Private Client Fixed or Open
                                              p.m. UTC                                                                               Loans

   Algorand (ALGO)                              $ 0.2359


  Coin                                        Price as of November 28, 2022, at 11:59    BlockFi Interest Account(s)                 BlockFi Private Client Fixed or Open
                                              p.m. UTC                                                                               Loans

   Avalanche (AVAX)                             $ 12.4500


  Coin                                        Price as of November 28, 2022, at 11:59    BlockFi Interest Account(s)                 BlockFi Private Client Fixed or Open
                                              p.m. UTC                                                                               Loans

   Axie Infinity (AXS)                          $ 6.5600


  Coin                                        Price as of November 28, 2022, at 11:59    BlockFi Interest Account(s)                 BlockFi Private Client Fixed or Open
                                              p.m. UTC                                                                               Loans

   Basic Attention Token (BAT)                  $ 0.22322


  Coin                                        Price as of November 28, 2022, at 11:59    BlockFi Interest Account(s)                 BlockFi Private Client Fixed or Open
                                              p.m. UTC                                                                               Loans

   Binance Coin (BNB)                           $ 292.7865




BlockFi Inc. Interest Bearing Account Holder Proof of Claim Form                     3 / 11
          Case 22-19361-MBK                  Doc    2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                              BlockFi Inc. Interest Bearing Account Holder Proof of Claim Form
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  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Bitcoin Cash (BCH)                     $ 109.9100


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Binance USD (BUSD)                     $ 1.0000


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Cardano (ADA)                          $ 0.3064                                  4576.24008812


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Chainlink (LINK)                       $ 7.1940                                  0.25200441


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Celo (CELO)                            $ 0.6170


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Chiliz (CHZ)                           $ 0.1642


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Compound (COMP)                        $ 37.1600


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Cosmos (ATOM)                          $ 9.8590


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Curve DAO Token (CRV)                  $ 0.6450


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Decentraland (MANA)                    $ 0.3862


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   DogeCoin (DOGE)                        $ 0.09506


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   dYdX (DYDX)                            $ 1.6660


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Elrond (EGLD)                          $ 42.1390


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Enjin Coin (ENJ)                       $ 0.2960




BlockFi Inc. Interest Bearing Account Holder Proof of Claim Form               4 / 11
           Case 22-19361-MBK                 Doc    2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                              BlockFi Inc. Interest Bearing Account Holder Proof of Claim Form
                                                                                                                                         Desc
                                            Creditor Responses- Part 2 Page 42 of 211
  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   EOS (EOS)                              $ 0.9034


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Fantom (FTM)                           $ 0.2049


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Filecoin (FIL)                         $ 4.2530


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   FTX Token (FTT)                        $ 1.2923535


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Gala (GALA)                            $ 0.02478


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Hedera Hashgraph (HBAR)                $ 0.0486


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Kusama (KSM)                           $ 25 5900


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Litecoin (LTC)                         $ 73.8500


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Loopring (LRC)                         $ 0.2368


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Maker (MKR)                            $ 645.4100


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Multi Collateral Dai (DAI)             $ 0.9997


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Near (NEAR)                            $ 1.5900


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   OMG Network (OMG)                      $ 1.1605


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   One Coin (ONE)                         $ 0.0137




BlockFi Inc. Interest Bearing Account Holder Proof of Claim Form               5 / 11
          Case 22-19361-MBK                  Doc    2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                              BlockFi Inc. Interest Bearing Account Holder Proof of Claim Form
                                                                                                                                         Desc
                                            Creditor Responses- Part 2 Page 43 of 211
  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   PAX Gold (PAXG)                        $ 1,740.6400                              0.00174712


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Paxos Standard Token (PAX)             $ 1.0000


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Polkadot (DOT)                         $ 5.1340


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Polygon (MATIC)                        $ 0.8209


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Quant (QNT)                            $ 112.4100


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Render Token (RNDR)                    $ 0.4672


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Serum (SRM)                            $ 0.2330


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Solana (SOL)                           $ 13.3200                                 129.45752642


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Stellar (XLM)                          $ 0.087183


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   SushiSwap (SUSHI)                      $ 1.3348


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Synthetix (SNX)                        $ 1.6620


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Terra 2.0 (LUNA)                       $ 0.0001552


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Tether (USDT)                          $ 0.9995


  Coin                                   Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                         p.m. UTC                                                                Loans

   Tezos (XTZ)                            $ 0.9750




BlockFi Inc. Interest Bearing Account Holder Proof of Claim Form               6 / 11
            Case 22-19361-MBK                         Doc    2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                       BlockFi Inc. Interest Bearing Account Holder Proof of Claim Form
                                                                                                                                               Desc
                                                     Creditor Responses- Part 2 Page 44 of 211
  Coin                                         Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                               p.m. UTC                                                                Loans

   The Graph (GRT)                              $ 0.0622


  Coin                                         Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                               p.m. UTC                                                                Loans

   The Sandbox (SAND)                           $ 0.5531


  Coin                                         Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                               p.m. UTC                                                                Loans

   THORchain (RUNE)                             $ 1.1670


  Coin                                         Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                               p.m. UTC                                                                Loans

   Tron (TRX)                                   $ 0.052973


  Coin                                         Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                               p.m. UTC                                                                Loans

   TrueUSD (TUSD)                               $ 0.9997


  Coin                                         Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                               p.m. UTC                                                                Loans

   Uniswap (UNI)                                $ 5.2830


  Coin                                         Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                               p.m. UTC                                                                Loans

   Waves (WAVES)                                $ 2.3300


  Coin                                         Price as of November 28, 2022, at 11:59   BlockFi Interest Account(s)   BlockFi Private Client Fixed or Open
                                               p.m. UTC                                                                Loans

   Yearn.Finance (YFI)                          $ 6,266.5000


  Do you hold additional coins in your account not listed above?
      No
      Yes




 Additional Claim Information

  8. What is the basis of the claim? (limited to 100 characters)

   Claim to returned as asset in lieu of dallor amount


  9. Is all or part of the claim secured?
      No
      Yes. The claim is secured by a lien on property.

  Nature of property:

     Real estate.

     Motor vehicle

     Other.

  Basis for perfection:




  Value of property (all amounts in US $ dollars):




BlockFi Inc. Interest Bearing Account Holder Proof of Claim Form                     7 / 11
             Case 22-19361-MBK                       Doc    2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                      BlockFi Inc. Interest Bearing Account Holder Proof of Claim Form
                                                                                                                                                 Desc
                                                    Creditor Responses- Part 2 Page 45 of 211
  Amount of the claim that is secured (all amounts in US $ dollars):




  Amount of the claim that is unsecured (all amounts in US $ dollars):




  Amount necessary to cure any default as of the date of the petition (all amounts in US
  $ dollars):




  Interest Rate Type:                                                                         Annual Interest Rate (when case was filed) %:


       Fixed
       Variable

  10. Is this claim based on a lease?
       No
       Yes

  Amount necessary to cure any default as of the date of the petition (all amounts in US $ dollars).




  11. Is this claim subject to a right of setoff?
       No
       Yes

  Identify the property:




  12. Is all or part of the claim entitled to priority under 11 U.S.C. § 507(a)?
       No
       Yes


       Domestic support obligations (including alimony and child support) under 11 U.
   S.C. § 507(a)(1)(A) or (a)(1)(B).

       Up to $3,350 of deposits toward purchase, lease, or rental of property or
   services for personal, family, or household use. 11 U.S.C. § 507(a)(7).

       Wages, salaries, or commissions (up to $15,150*) earned within 180 days
   before the bankruptcy petition is filed or the debtor’s business ends, whichever is
   earlier. 11 U.S.C. § 507(a)(4).

       Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).

       Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).

       Other




 E-Sign

  The person completing this proof of claim must sign and date it. FRBP 9011(b).


  If you file this claim electronically, FRBP 5005(a)(2) authorizes courts to establish local rules specifying what a signature is.


  A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

  Check the appropriate box:
       I am the creditor.
       I am the creditor’s attorney or authorized agent.
       I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
       I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.




BlockFi Inc. Interest Bearing Account Holder Proof of Claim Form                          8 / 11
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                Case 22-19361-MBK                   Doc    2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                     BlockFi Inc. Interest Bearing Account Holder Proof of Claim Form
                                                                                                                        Desc
                                                   Creditor Responses- Part 2 Page 47 of 211
  Address 2:




  Address 3:




  Address 4:




  City:




  State or Province (use 2-letter abbreviation if US or Canada):




  Zip Code | Postal Code:




  Is the address outside of the US?
          No
          Yes

  Contact phone:




  Contact email:




 Attachments

  Attach Support Documentation (limited to a single PDF attachment that is less than 5 megabytes in size):
          I have supporting documentation
          I do not have supporting documentation




BlockFi Inc. Interest Bearing Account Holder Proof of Claim Form                    10 / 11
           Case 22-19361-MBK                      Doc    2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                   BlockFi Inc. Interest Bearing Account Holder Proof of Claim Form
                                                                                                                                                              Desc
                                                 Creditor Responses- Part 2 Page 48 of 211
 Confirmation of Submission

  Your Form has been successfully submitted...
  DOCUMENT ID                                                                            Submitted Date Time

                                                                                           2023-11-25T16:06:51.085Z

  Status                                                                                 CONFIRMATION ID

   Submitted

  Submission Email Address




 Submission Information

  When you press "Submit" you will receive an email from "noreply.efiling@ra.kroll.com." Please add this email to your allowed senders list. This email will have a PDF copy of
  your claim filing (with your supporting documents as a separate attachment), as well as your Confirmation ID.




BlockFi Inc. Interest Bearing Account Holder Proof of Claim Form                     11 / 11
          Case 22-19361-MBK                        Doc   2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                      BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                                  Desc
                                                  Creditor Responses- Part 2 Page 49 of 211
 BlockFi Seventeenth Omnibus Objection Response Portal
 Introduction

 On November 28, 2022, BlockFi Inc. and 8 affiliated debtors (collectively, "BlockFi") each filed a voluntary pe ition for relief under Chapter 11 of the United States Bankruptcy
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 In order to assist he Court with collecting responses to the Objection, Kroll is collecting responses electronically through this portal or by hard copy at the address below.
 For your response to be timely, it must be received by Kroll on or before April 2, 2024 at 4:00 p.m. prevailing Eastern Time. PLEASE NOTE THAT YOU DO NOT
 NEED TO FILE A RESPONSE IF YOU AGREE WITH THE PROPOSED MODIFICATION OR EXPUNGEMENT OF YOUR CLAIM.


                                                                                   First Class Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                          Grand Central Station, PO Box 4850
                                                                              New York, NY 10163-4850


                                                                                   Overnight Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                             850 Third Avenue, Suite 412
                                                                                 Brooklyn, NY 11232


 Please follow the steps below to logon to this portal and to submit your response to he Objection. If you have any questions on this portal please feel free to reach out to
 Kroll by phone at (888) 773-0375 (Toll Free) or (646) 440-4371 (International), or by email at blockfiinfo@ra.kroll.com.




 Logon

 On or around March 8, 2024, Kroll sent you an email or mail package regarding BlockFi’s Objection. This
 email or mail package contains a 16-digit Unique ID number. Please enter the Unique ID number in the
 field below to enter this portal. Make one submission per Unique ID number. Each Unique ID may be used
 only once.
 Please enter your Unique ID here

   C83N-RHUZ-DTB5-M6QE


     Where can I find my Unique ID?

 Please review the bottom left side of the correspondence you received from Kroll to locate your 16 digit Unique ID.




BlockFi Seventeenth Omnibus Objection Response Portal                                    1/4
Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32   Desc
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           Case 22-19361-MBK                  Doc   2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                 BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                 Desc
                                             Creditor Responses- Part 2 Page 51 of 211
 To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
 settle, or otherwise resolve the Motion on your behalf.
 Name:




 Street1




 Street2




 City




 State




 Zip




 Country




 Telephone Number




 Email Address




 Document Upload

 Please upload your response to the Objection in the box below. You may upload up to 3 documents in either .PDF or .DOC format. Each document may be up to
 20 MBs or 30 MBs across all documents.
 Upload Here

       17th Omni Email Merge_Part1206.pdf                                                                                                                114 KB

       Blockfi Claim Modification.pdf                                                                                                                     39 KB




BlockFi Seventeenth Omnibus Objection Response Portal                          3/4
Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32   Desc
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Case 22-19361-MBK          Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32                Desc
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March 18, 2024

To whom it may concern:



Please allow the modification of my claim amount to match the scheduled amount of $12,601.63 on the
attached.



Thank you,
           Case 22-19361-MBK                       Doc   2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                      BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                                  Desc
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 BlockFi Seventeenth Omnibus Objection Response Portal
 Introduction

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                                                                                   First Class Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                          Grand Central Station, PO Box 4850
                                                                              New York, NY 10163-4850


                                                                                   Overnight Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                             850 Third Avenue, Suite 412
                                                                                 Brooklyn, NY 11232


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 only once.
 Please enter your Unique ID here

   62BQ-4BQZ-V72C-ZEBS


     Where can I find my Unique ID?




 Claim Information

 Claim Number

   34102

 Claim Name




 Claimant Address on File




 To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
 where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.




BlockFi Seventeenth Omnibus Objection Response Portal                                    1/3
           Case 22-19361-MBK                 Doc   2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                 Desc
                                            Creditor Responses- Part 2 Page 56 of 211
 Name:




 Street1




 Street2




 City




 State




 Zip




 Country




 Telephone Number




 Email Address




 To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
 settle, or otherwise resolve the Motion on your behalf.
 Name:




 Street1




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 State




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 Country




 Telephone Number




 Email Address




BlockFi Seventeenth Omnibus Objection Response Portal                          2/3
Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32   Desc
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                                                      BlockFi Seventeenth Omnibus Objection Response Portal
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 BlockFi Seventeenth Omnibus Objection Response Portal
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                                                                                   First Class Mail


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                                                                     c/o Kroll Restructuring Administration LLC
                                                                          Grand Central Station, PO Box 4850
                                                                              New York, NY 10163-4850


                                                                                   Overnight Mail


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 only once.
 Please enter your Unique ID here

   EK9G-HDP2-4M5A-HKDD


     Where can I find my Unique ID?




 Claim Information

 Claim Number

   712

 Claim Name




 Claimant Address on File




 To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
 where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.




BlockFi Seventeenth Omnibus Objection Response Portal                                    1/3
           Case 22-19361-MBK                 Doc   2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                 Desc
                                            Creditor Responses- Part 2 Page 60 of 211
 Name:




 Street1




 Street2




 City




 State




 Zip




 Country




 Telephone Number




 Email Address




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BlockFi Seventeenth Omnibus Objection Response Portal                          2/3
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                                                      BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                                  Desc
                                                  Creditor Responses- Part 2 Page 70 of 211
 BlockFi Seventeenth Omnibus Objection Response Portal
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                                                                                   First Class Mail


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                                                                     c/o Kroll Restructuring Administration LLC
                                                                          Grand Central Station, PO Box 4850
                                                                              New York, NY 10163-4850


                                                                                   Overnight Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                             850 Third Avenue, Suite 412
                                                                                 Brooklyn, NY 11232


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 Please enter your Unique ID here

   2BBR-N7XN-CXGE-APTY


     Where can I find my Unique ID?




 Claim Information

 Claim Number

   416

 Claim Name




 Claimant Address on File




 To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
 where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.




BlockFi Seventeenth Omnibus Objection Response Portal                                    1/3
           Case 22-19361-MBK                 Doc   2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                 Desc
                                            Creditor Responses- Part 2 Page 71 of 211
 Name:




 Street1




 Street2




 City




 State




 Zip




 Country




 Telephone Number




 Email Address




 To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
 settle, or otherwise resolve the Motion on your behalf.
 Name:




 Street1




 Street2




 City




 State




 Zip




 Country




 Telephone Number




 Email Address




BlockFi Seventeenth Omnibus Objection Response Portal                          2/3
Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32   Desc
                    Creditor Responses- Part 2 Page 72 of 211
    Case 22-19361-MBK              Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32                  Desc
                                  Creditor Responses- Part 2 Page 73 of 211



201 Montgomery St, 2nd Floor, Suite 263
Jersey City, NJ 07302 USA




October 2022 BlockFi Wallet Statement
Name
Email
Address


Account ID
Month Ending                  October 31, 2022




You earned approximately
$5.40 * worth of crypto.

 Crypto Prices*                   Credit Card Rewards Earned   Referral/Bonus Earned   Ending Balance

 1 GUSD                           0                            5.40000000              5.40000000
 $1.00                                                         $5.40                   $5.40

 Total* in USD                    $0.00                        $5.40                   $5.40
     Case 22-19361-MBK               Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32                   Desc
                                    Creditor Responses- Part 2 Page 74 of 211




October 2022 BlockFi Interest Account Statement
Flex Selection                          Earn all interest in USDC
Month Ending                            October 31, 2022




You earned approximately
$143.86 * worth of crypto.

 Crypto Prices*                     Interest Earned                    Ending Balance

 1 BTC                              0                                  0.14788230
 $20,492.00                                                            $3,030.40

 1 ETH                              0                                  0.73084962
 $1,572.90                                                             $1,149.55

 1 USDC                             143.86100692                       21,742.71704813
 $1.00                              $143.86                            $21,742.72

 Total* in USD                      $143.86                            $25,922.67




* Amounts in USD are based on the closing price per CoinMarketCap and are for information purposes only.
Actual balances are denominated in cryptocurrency, not USD.
Actual amounts will vary based on activity, rates, and compliance with BlockFi’s terms & conditions.
   Case 22-19361-MBK        Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32             Desc
                           Creditor Responses- Part 2 Page 75 of 211
The amount of the modified claim is incorrect. My claim amount is $30,285.53. When withdrawals were
stopped my account balance was at the following:

USD Coin $21,742.71704813
Bitcoin .14788230
ETH .73084963

Using the conversion rates that were outlined in bankruptcy documents:




My claim amount should is ($21,727.932 USDC + $6,776.644 + $1,780.934) = $30,285.53



                Account Balance              Conversion Price                     Total

 USDC       $21,742.71704813            x .99932                   $21,727.932

 BTC        .14788230                   x $45,824.58               $6,776.644

 ETH        .73084963                   x $2,436.80                $1,780.934
Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32   Desc
                    Creditor Responses- Part 2 Page 76 of 211
Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32   Desc
                    Creditor Responses- Part 2 Page 77 of 211
Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32   Desc
                    Creditor Responses- Part 2 Page 78 of 211
           Case 22-19361-MBK                       Doc   2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                      BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                                  Desc
                                                  Creditor Responses- Part 2 Page 79 of 211
 BlockFi Seventeenth Omnibus Objection Response Portal
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 For your response to be timely, it must be received by Kroll on or before April 2, 2024 at 4:00 p.m. prevailing Eastern Time. PLEASE NOTE THAT YOU DO NOT
 NEED TO FILE A RESPONSE IF YOU AGREE WITH THE PROPOSED MODIFICATION OR EXPUNGEMENT OF YOUR CLAIM.


                                                                                   First Class Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                          Grand Central Station, PO Box 4850
                                                                              New York, NY 10163-4850


                                                                                   Overnight Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                             850 Third Avenue, Suite 412
                                                                                 Brooklyn, NY 11232


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 Kroll by phone at (888) 773-0375 (Toll Free) or (646) 440-4371 (International), or by email at blockfiinfo@ra.kroll.com.




 Logon

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 email or mail package contains a 16-digit Unique ID number. Please enter the Unique ID number in the
 field below to enter this portal. Make one submission per Unique ID number. Each Unique ID may be used
 only once.
 Please enter your Unique ID here

   HHY8-WQGC-PJW2-74X2


     Where can I find my Unique ID?




 Claim Information

 Claim Number

   12352

 Claim Name




 Claimant Address on File




 To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
 where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.




BlockFi Seventeenth Omnibus Objection Response Portal                                    1/3
           Case 22-19361-MBK                 Doc   2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                 Desc
                                            Creditor Responses- Part 2 Page 80 of 211
 Name:




 Street1




 Street2




 City




 State




 Zip




 Country




 Telephone Number




 Email Address




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 settle, or otherwise resolve the Motion on your behalf.
 Name:




 Street1




 Street2




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 Telephone Number




 Email Address




BlockFi Seventeenth Omnibus Objection Response Portal                          2/3
Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32   Desc
                    Creditor Responses- Part 2 Page 81 of 211
Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32   Desc
                    Creditor Responses- Part 2 Page 82 of 211
Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32   Desc
                    Creditor Responses- Part 2 Page 83 of 211
Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32   Desc
                    Creditor Responses- Part 2 Page 84 of 211
Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32   Desc
                    Creditor Responses- Part 2 Page 85 of 211
       Case 22-19361-MBK           Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32                       Desc
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March 19, 2024

BlockFi Inc. Claims Processing Center
c/o Kroll Restructuring Administration LLC
Grand Central Station, PO Box 4850
New York, NY 10163-4850

To Whom it May Concern:

I’m writing in response to the objection of claim 12352 of the Debtors filed during the 17th Omnibus Objection.

The Debtors notified me of the loan set off on March 7th with following details:

            o    Scheduled dollarized value as of the petition date of retail loan collateral $371,431.97
            o    Outstanding loan balance $237,328.97
            o    Remaining amount of claim $134,003.00
            o    “If you filed a proof of claim that has not yet been reconciled and Allowed by the Wind-Down Debtors the
                 set off of your outstanding loan balance will take place after the Wind-Down Debtors either (i) review
                 and allow your claim, or (ii) object to your claim and the Court enters and order fixing the claim amount.

Going forward, it is my intention to not delay the reconciliation process any further and am using the correspondence to
establish that I agree to modify my claim on the condition that the proposed terms outlined above are honored.

To reiterate, this letter serves as documentation that I will modify claim 12352 to General Unsecured Claim on the
condition that the Debtors simultaneously honor my set off outlined in the Plan of Reorganization and the Disclosure
Statement.

The surviving claim amount following these modifications results in a General Unsecured Claim of $134,003.00 entitling
me to pro-rata distribution(s) based on any remaining amounts after my outstanding loan balance is subtracted from the
dollarized amount of your retail loan collateral claim.

Let me know if I can provide any further information or clarification.

Respectfully,
           Case 22-19361-MBK                       Doc   2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                      BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                                  Desc
                                                  Creditor Responses- Part 2 Page 87 of 211
 BlockFi Seventeenth Omnibus Objection Response Portal
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                                                                                   First Class Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                          Grand Central Station, PO Box 4850
                                                                              New York, NY 10163-4850


                                                                                   Overnight Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                             850 Third Avenue, Suite 412
                                                                                 Brooklyn, NY 11232


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 Kroll by phone at (888) 773-0375 (Toll Free) or (646) 440-4371 (International), or by email at blockfiinfo@ra.kroll.com.




 Logon

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 field below to enter this portal. Make one submission per Unique ID number. Each Unique ID may be used
 only once.
 Please enter your Unique ID here

   MDQG-RFWY-VGVZ-WNVK


     Where can I find my Unique ID?




 Claim Information

 Claim Number

   16026

 Claim Name




 Claimant Address on File




 To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
 where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.




BlockFi Seventeenth Omnibus Objection Response Portal                                    1/3
           Case 22-19361-MBK                 Doc   2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                 Desc
                                            Creditor Responses- Part 2 Page 88 of 211
 Name:




 Street1




 Street2




 City




 State




 Zip




 Country




 Telephone Number




 Email Address




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BlockFi Seventeenth Omnibus Objection Response Portal                          2/3
Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32   Desc
                    Creditor Responses- Part 2 Page 89 of 211
                                  Case 22-19361-MBK               Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32                                     Desc
                                                                 Creditor Responses- Part 2 Page 90 of 211

                                                                         Payroll Journal with Taxable Wages
                                                                                            All Bank Accounts
                                                                                           December 30, 2022
Pay Description                     Rate        Hours            Amount      Withholding Taxes                  Taxable Wages           Amount    Deductions                               Amount

Work Location: Taxing Address
Department:

01                                                                                                                              Check # 134                                     12/30/22
Officer Salary                                                               FICA-SS                                                              401(k) Employee
2% Shareholder Health                                                        Deferred FICA-SS                                                 0   After tax 401 K
                                                                             FICA-MED
                                                                             FIT
                                                                             California SIT                                               00.00
                                                                             California SDI
Totals

                                                                                                                                                                    Net Check
                                                                                                                                                                      Net Pay
    Company Expenses
    ERFUTA: 63.00 ERFICA-SS: 9114.00       ERFICA-MED: 2900.00   California SUI: 210.00   401(k) Employer: 12000.00



Check count = 1




Printed by JENNY on 12/07/22 at 4:21 PM                                                                                                                                                     Page 1
                                  Case 22-19361-MBK               Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32                                  Desc
                                                                 Creditor Responses- Part 2 Page 91 of 211

                                                                         Payroll Journal with Taxable Wages
                                                                                            All Bank Accounts
                                                                                  January 1, 2023 - December 31, 2023
Pay Description                     Rate         Hours           Amount      Withholding Taxes                Taxable Wages           Amount   Deductions                             Amount

Work Location: Taxing Address
Department:

01                                         Lei, Lei                                                                           Check # 139                                  12/29/23
Officer Salary                                                               FICA-SS                                                           401(k) Employee
2% Shareholder Health                                                        Deferred FICA-SS                                                  After tax 401 K
                                                                             FICA-MED
                                                                             FIT
                                                                             California SIT
                                                                             California SDI
Totals

                                                                                                                                                                 Net Pay
    Company Expenses
    ERFUTA: 84.00 ERFICA-SS: 9932.40       ERFICA-MED: 2900.00   California SUI: 147.00   401(k) Employer: 0.00



Check count = 1




Printed by JENNY on 12/08/23 at 4:00 PM                                                                                                                                                Page 1
Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32   Desc
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Case 22-19361-MBK       Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32                Desc
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I therefore disagree with the proposed modification of the Disputed Claim and ask the Court to
not sustain the Objection.




March 19, 2024
          Case 22-19361-MBK                        Doc   2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                      BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                                  Desc
                                                  Creditor Responses- Part 2 Page 94 of 211
 BlockFi Seventeenth Omnibus Objection Response Portal
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                                                                                   First Class Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                          Grand Central Station, PO Box 4850
                                                                              New York, NY 10163-4850


                                                                                   Overnight Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                             850 Third Avenue, Suite 412
                                                                                 Brooklyn, NY 11232


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 only once.
 Please enter your Unique ID here

   EYWP-SK2D-8772-STYS


     Where can I find my Unique ID?




 Claim Information

 Claim Number

   3405

 Claim Name




 Claimant Address on File




 To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
 where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.




BlockFi Seventeenth Omnibus Objection Response Portal                                    1/3
           Case 22-19361-MBK                 Doc   2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                 Desc
                                            Creditor Responses- Part 2 Page 95 of 211
 Name:




 Street1




 Street2




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BlockFi Seventeenth Omnibus Objection Response Portal                          2/3
Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32   Desc
                    Creditor Responses- Part 2 Page 96 of 211
Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32   Desc
                    Creditor Responses- Part 2 Page 97 of 211
Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32   Desc
                    Creditor Responses- Part 2 Page 98 of 211
Case 22-19361-MBK            Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32                      Desc
                            Creditor Responses- Part 2 Page 99 of 211



March 19, 2024

To: BlockFi


Thank you for your diligent restructuring and wind-down on the bankruptcy case.

I would kindly like to request the following:
Claim 1278        $116,367.34
Claim 3405        $123,203.11

For both Claim 1278 & 3405, I would like my 6.57781240 BTC (Bitcoin) in coins and not cash value to avoid
a tax payment. My long-term plan is to hold my Bitcoin asset for 20+ years. Currently, the price of Bitcoin
is $72,357.13 and total BTC Holding is $475,951.63.

I only care about my Bitcoin holding and fine with cash on my other coins (i.e. Etherium, PAX Gold,
Litecoin, Chainlink).




I would like your consideration on my request.


Sincerely yours,




                   .com
(714-403-6764)
           Case 22-19361-MBK                       Doc  2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                     BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                                  Desc
                                                 Creditor Responses- Part 2 Page 100 of 211
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                                                                                   First Class Mail


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                                                                     c/o Kroll Restructuring Administration LLC
                                                                          Grand Central Station, PO Box 4850
                                                                              New York, NY 10163-4850


                                                                                   Overnight Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                             850 Third Avenue, Suite 412
                                                                                 Brooklyn, NY 11232


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 Please enter your Unique ID here

   REFH-ESAW-ARMR-6CW4


     Where can I find my Unique ID?




 Claim Information

 Claim Number

   32378

 Claim Name




 Claimant Address on File




 To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
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BlockFi Seventeenth Omnibus Objection Response Portal                                    1/3
           Case 22-19361-MBK                 Doc  2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                               BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                 Desc
                                           Creditor Responses- Part 2 Page 101 of 211
 Name:




 Street1




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BlockFi Seventeenth Omnibus Objection Response Portal                          2/3
Case 22-19361-MBK     Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32   Desc
                    Creditor Responses- Part 2 Page 102 of 211
            Case 22-19361-MBK                       DocBlockFi
                                                         2226-1         Filed 04/05/24 Entered 04/05/24 14:53:32
                                                               Inc. Wallet Account Holder Proof of Claim Form
                                                                                                                                                               Desc
                                                  Creditor Responses- Part 2 Page 103 of 211
 BlockFi Inc. Wallet Account Holder Proof of Claim Form
 Instructions

  Read the instructions before filling out this form. This form is for making a claim based on assets held in account of the Debtors. Do not use this form to assert any other
  pre-petition claims. Do not use this form to make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.


  Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any documents that support the
  claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments, mortgages, and security agreements. Do not
  send original documents; they may be destroyed after scanning. If the documents are not available, explain in an attachment.


  A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.


  Fill in all the information about the claim as of the date the case was filed (November 28, 2022).

      Check here to see further instructions on completing your claim form:




 Debtor Selection

  If you have one or more BlockFi Wallet account(s), fill in this information to identify the case:
      U.S. client
      Non-U.S. client

      BlockFi International Ltd. (Case No. 22-19368)
      Other




 Claim Information

  1. Who is the current creditor?




  Other names the creditor used with the debtor




  Customer Identification Number(s):




  Email Address Used to Sign Up for your BlockFi Account(s):




  2. Has this claim been acquired from someone else?
      No
      Yes

  3. Where should notices and payments to the creditor be sent?
  [Federal Rule of Bankruptcy Procedure (FRBP) 2002(g)]

  Where should notices to the creditor be sent?

  Name:




  Address 1 (Street address, “Care of:”, or “Attention To:”):




  Address 2:




  Address 3:




BlockFi Inc. Wallet Account Holder Proof of Claim Form                                    1 / 11
                Case 22-19361-MBK                   DocBlockFi
                                                         2226-1         Filed 04/05/24 Entered 04/05/24 14:53:32
                                                               Inc. Wallet Account Holder Proof of Claim Form
                                                                                                                                                                 Desc
                                                  Creditor Responses- Part 2 Page 104 of 211
  Address 4:




  City:




  State or Province (use 2-letter abbreviation if US or Canada):




  Zip Code | Postal Code:




  Is the creditor address outside of the US?
          No
          Yes

  Country (if outside of the US):




  Contact phone:




  Contact email:




  Should payments go to a different address?
          No
          Yes

  Would you like to add any additional noticing addresses?
          No
          Yes

  4. Does this claim amend one already filed?
          No
          Yes

  Claim number on court claims registry (if known)

   3275-50-CQNBC-877971273

  Filed on:

   2/13/2023


   02/13/2023


  5. Do you know if anyone else has filed a proof of claim for this claim?
          No
          Yes

  6. Do you have any number you use to identify the debtor?
          No
          Yes




 Claim Amount

  * 7a. To the extent that you assert a claim that is denominated in US Dollars, list the value of the claim in US Dollars as of the date the case was filed (November 28, 2022)

  BlockFi International Ltd.; Case No. 22-19368




BlockFi Inc. Wallet Account Holder Proof of Claim Form                                 2 / 11
          Case 22-19361-MBK                        DocBlockFi
                                                        2226-1         Filed 04/05/24 Entered 04/05/24 14:53:32
                                                              Inc. Wallet Account Holder Proof of Claim Form
                                                                                                                                                             Desc
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  * 7b. List the number of each type of coin held in your Wallet account(s) as of the date the case was filed (November 28, 2022) (i.e., list the IN KIND COIN BALANCE in your
  Wallet account(s) as of the date the case was filed).


  Please use only numerals and decimals in the Wallet field, up to a maximum of 21 digits or 20 digits and 1 decimal.

  Coin                                        Price as of November 28, 2022, at 11:59                                   Wallet
                                              p.m. UTC

   Bitcoin (BTC)                                $ 16,206.3000


  Coin                                        Price as of November 28, 2022, at 11:59                                   Wallet
                                              p.m. UTC

   Ethereum (ETH)                               $ 1,167.2400


  Coin                                        Price as of November 28, 2022, at 11:59                                   Wallet
                                              p.m. UTC

   Gemini Dollar (GUSD)                         $ 1.0000


  Coin                                        Price as of November 28, 2022, at 11:59                                   Wallet
                                              p.m. UTC

   USD Coin (USDC)                              $ 1.0000                                   1097.54


  Coin                                        Price as of November 28, 2022, at 11:59                                   Wallet
                                              p.m. UTC

   1inch Network1 (INCH)                        $ 0.5170


  Coin                                        Price as of November 28, 2022, at 11:59                                   Wallet
                                              p.m. UTC

   Aave (AAVE)                                  $ 60.1500


  Coin                                        Price as of November 28, 2022, at 11:59                                   Wallet
                                              p.m. UTC

   Algorand (ALGO)                              $ 0.2359


  Coin                                        Price as of November 28, 2022, at 11:59                                   Wallet
                                              p.m. UTC

   Avalanche (AVAX)                             $ 12.4500


  Coin                                        Price as of November 28, 2022, at 11:59                                   Wallet
                                              p.m. UTC

   Axie Infinity (AXS)                          $ 6.5600


  Coin                                        Price as of November 28, 2022, at 11:59                                   Wallet
                                              p.m. UTC

   Basic Attention Token (BAT)                  $ 0.22322


  Coin                                        Price as of November 28, 2022, at 11:59                                   Wallet
                                              p.m. UTC

   Binance Coin (BNB)                           $ 292.7865


  Coin                                        Price as of November 28, 2022, at 11:59                                   Wallet
                                              p.m. UTC

   Bitcoin Cash (BCH)                           $ 109.9100


  Coin                                        Price as of November 28, 2022, at 11:59                                   Wallet
                                              p.m. UTC

   Binance USD (BUSD)                           $ 1.0000




BlockFi Inc. Wallet Account Holder Proof of Claim Form                                3 / 11
          Case 22-19361-MBK                  DocBlockFi
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                                                        Inc. Wallet Account Holder Proof of Claim Form
                                                                                                            Desc
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  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Cardano (ADA)                         $ 0.3064


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Chainlink (LINK)                      $ 7.1940


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Celo (CELO)                           $ 0.6170


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Chiliz (CHZ)                          $ 0.1642


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Compound (COMP)                       $ 37.1600


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Cosmos (ATOM)                         $ 9.8590


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Curve DAO Token (CRV)                 $ 0.6450


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Decentraland (MANA)                   $ 0.3862


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   DogeCoin (DOGE)                       $ 0.09506


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   dYdX (DYDX)                           $ 1.6660


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Elrond (EGLD)                         $ 42.1390


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Enjin Coin (ENJ)                      $ 0.2960


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   EOS (EOS)                             $ 0.9034


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Fantom (FTM)                          $ 0.2049




BlockFi Inc. Wallet Account Holder Proof of Claim Form                        4 / 11
           Case 22-19361-MBK                 DocBlockFi
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                                                                                                            Desc
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  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Filecoin (FIL)                        $ 4.2530


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   FTX Token (FTT)                       $ 1.2923535


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Gala (GALA)                           $ 0.02478


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Hedera Hashgraph (HBAR)               $ 0.0486


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Kusama (KSM)                          $ 25 5900


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Litecoin (LTC)                        $ 73.8500


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Loopring (LRC)                        $ 0.2368


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Maker (MKR)                           $ 645.4100


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Multi Collateral Dai (DAI)            $ 0.9997


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Near (NEAR)                           $ 1.5900


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   OMG Network (OMG)                     $ 1.1605


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   One Coin (ONE)                        $ 0.0137


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   PAX Gold (PAXG)                       $ 1,740.6400


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Paxos Standard Token (PAX)            $ 1.0000




BlockFi Inc. Wallet Account Holder Proof of Claim Form                        5 / 11
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                                                                                                            Desc
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  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Polkadot (DOT)                        $ 5.1340


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Polygon (MATIC)                       $ 0.8209


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Quant (QNT)                           $ 112.4100


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Render Token (RNDR)                   $ 0.4672


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Serum (SRM)                           $ 0.2330


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Solana (SOL)                          $ 13.3200


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Stellar (XLM)                         $ 0.087183


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   SushiSwap (SUSHI)                     $ 1.3348


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Synthetix (SNX)                       $ 1.6620


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Terra 2.0 (LUNA)                      $ 0.0001552


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Tether (USDT)                         $ 0.9995


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   Tezos (XTZ)                           $ 0.9750


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   The Graph (GRT)                       $ 0.0622


  Coin                                  Price as of November 28, 2022, at 11:59        Wallet
                                        p.m. UTC

   The Sandbox (SAND)                    $ 0.5531




BlockFi Inc. Wallet Account Holder Proof of Claim Form                        6 / 11
            Case 22-19361-MBK                      DocBlockFi
                                                        2226-1         Filed 04/05/24 Entered 04/05/24 14:53:32
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                                                                                                                  Desc
                                                 Creditor Responses- Part 2 Page 109 of 211
  Coin                                         Price as of November 28, 2022, at 11:59        Wallet
                                               p.m. UTC

   THORchain (RUNE)                             $ 1.1670


  Coin                                         Price as of November 28, 2022, at 11:59        Wallet
                                               p.m. UTC

   Tron (TRX)                                   $ 0.052973


  Coin                                         Price as of November 28, 2022, at 11:59        Wallet
                                               p.m. UTC

   TrueUSD (TUSD)                               $ 0.9997


  Coin                                         Price as of November 28, 2022, at 11:59        Wallet
                                               p.m. UTC

   Uniswap (UNI)                                $ 5.2830


  Coin                                         Price as of November 28, 2022, at 11:59        Wallet
                                               p.m. UTC

   Waves (WAVES)                                $ 2.3300


  Coin                                         Price as of November 28, 2022, at 11:59        Wallet
                                               p.m. UTC

   Yearn.Finance (YFI)                          $ 6,266.5000


  Do you hold additional coins in your account not listed above?
      No
      Yes




 Additional Claim Information

  8. What is the basis of the claim? (limited to 100 characters)

   Client Account


  9. Is all or part of the claim secured?
      No
      Yes. The claim is secured by a lien on property.

  Nature of property:

     Real estate.

     Motor vehicle

     Other.

  Basis for perfection:




  Value of property (all amounts in US $ dollars):




  Amount of the claim that is secured (all amounts in US $ dollars):




  Amount of the claim that is unsecured (all amounts in US $ dollars):




BlockFi Inc. Wallet Account Holder Proof of Claim Form                               7 / 11
             Case 22-19361-MBK                        DocBlockFi
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  Amount necessary to cure any default as of the date of the petition (all amounts in US
  $ dollars):




  Interest Rate Type:                                                                         Annual Interest Rate (when case was filed) %:


       Fixed
       Variable

  10. Is this claim based on a lease?
       No
       Yes

  Amount necessary to cure any default as of the date of the petition (all amounts in US $ dollars).




  11. Is this claim subject to a right of setoff?
       No
       Yes

  Identify the property:




  12. Is all or part of the claim entitled to priority under 11 U.S.C. § 507(a)?
       No
       Yes


       Domestic support obligations (including alimony and child support) under 11 U.
   S.C. § 507(a)(1)(A) or (a)(1)(B).

       Up to $3,350 of deposits toward purchase, lease, or rental of property or
   services for personal, family, or household use. 11 U.S.C. § 507(a)(7).

       Wages, salaries, or commissions (up to $15,150*) earned within 180 days
   before the bankruptcy petition is filed or the debtor’s business ends, whichever is
   earlier. 11 U.S.C. § 507(a)(4).

       Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).

       Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).

       Other




 E-Sign

  The person completing this proof of claim must sign and date it. FRBP 9011(b).


  If you file this claim electronically, FRBP 5005(a)(2) authorizes courts to establish local rules specifying what a signature is.


  A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

  Check the appropriate box:
       I am the creditor.
       I am the creditor’s attorney or authorized agent.
       I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
       I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.

  I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the amount of the claim, the creditor gave the debtor
  credit for any payments received toward the debt.


  I have examined the information in this Proof of Claim and have a reasonable belief that the information is true and correct.


  I declare under penalty of perjury that the foregoing is true and correct.


  Executed on date (Calculated in UTC)

   06/16/2023



BlockFi Inc. Wallet Account Holder Proof of Claim Form                                    8 / 11
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                                                                Inc. Wallet Account Holder Proof of Claim Form
                                                                                                                    Desc
                                                   Creditor Responses- Part 2 Page 112 of 211
  City:




  State or Province (use 2-letter abbreviation if US or Canada):




  Zip Code | Postal Code:




  Is the address outside of the US?
          No
          Yes

  Country (if outside of the US):




  Contact phone:




  Contact email:




 Attachments

  Attach Support Documentation (limited to a single PDF attachment that is less than 5 megabytes in size):
          I have supporting documentation
          I do not have supporting documentation

  Attach a single PDF attachment that is less than 5 megabytes in size

         Kroll.pdf                                                                                                        393 KB

  Attachment Filename

   Kroll pdf




BlockFi Inc. Wallet Account Holder Proof of Claim Form                              10 / 11
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                                                             Inc. Wallet Account Holder Proof of Claim Form
                                                                                                                                                              Desc
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 Confirmation of Submission

  Your Form has been successfully submitted...
  DOCUMENT ID                                                                            Submitted Date Time

                                                                                           2023-06-16T13:46:23.687Z

  Status                                                                                 CONFIRMATION ID

   Submitted                                                                               3275-50-BXPJQ-105757938

  Submission Email Address




 Submission Information

  When you press "Submit" you will receive an email from "noreply.efiling@ra.kroll.com." Please add this email to your allowed senders list. This email will have a PDF copy of
  your claim filing (with your supporting documents as a separate attachment), as well as your Confirmation ID.




BlockFi Inc. Wallet Account Holder Proof of Claim Form                               11 / 11
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          Case 22-19361-MBK                        Doc  2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                     BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                                  Desc
                                                 Creditor Responses- Part 2 Page 116 of 211
 BlockFi Seventeenth Omnibus Objection Response Portal
 Introduction

 On November 28, 2022, BlockFi Inc. and 8 affiliated debtors (collectively, "BlockFi") each filed a voluntary pe ition for relief under Chapter 11 of the United States Bankruptcy
 Code in the United States Bankruptcy Court for the District of New Jersey (the “Court”). Thereafter, the Bankruptcy Court set March 31, 2023, at 5:00 p m., as the deadline
 for all persons and entities that assert a claim against BlockFi, arising prior to November 28, 2022, to imely file a proof of claim.


 On March 4, 2024, BlockFi, as supervised by the Plan Administrator, filed the Wind-Down Debtors’ Seventeenth Omnibus Objection to Claims (the “Objection”). If you filed a
 claim against BlockFi and your claim is affected by the Objection, the Objection and information pertaining to your claim was sent to you by Kroll Restructuring Administration
 LLC (“Kroll”) by email or first class mail on or around March 8, 2024.

 In order to assist he Court with collecting responses to the Objection, Kroll is collecting responses electronically through this portal or by hard copy at the address below.
 For your response to be timely, it must be received by Kroll on or before April 2, 2024 at 4:00 p.m. prevailing Eastern Time. PLEASE NOTE THAT YOU DO NOT
 NEED TO FILE A RESPONSE IF YOU AGREE WITH THE PROPOSED MODIFICATION OR EXPUNGEMENT OF YOUR CLAIM.


                                                                                   First Class Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                          Grand Central Station, PO Box 4850
                                                                              New York, NY 10163-4850


                                                                                   Overnight Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                             850 Third Avenue, Suite 412
                                                                                 Brooklyn, NY 11232


 Please follow the steps below to logon to this portal and to submit your response to he Objection. If you have any questions on this portal please feel free to reach out to
 Kroll by phone at (888) 773-0375 (Toll Free) or (646) 440-4371 (International), or by email at blockfiinfo@ra.kroll.com.




 Logon

 On or around March 8, 2024, Kroll sent you an email or mail package regarding BlockFi’s Objection. This
 email or mail package contains a 16-digit Unique ID number. Please enter the Unique ID number in the
 field below to enter this portal. Make one submission per Unique ID number. Each Unique ID may be used
 only once.
 Please enter your Unique ID here

   JCNX-Y4HQ-UQKB-E2G5


     Where can I find my Unique ID?




 Claim Information

 Claim Number

   9819

 Claim Name




 Claimant Address on File




 To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
 where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.




BlockFi Seventeenth Omnibus Objection Response Portal                                    1/3
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                                               BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                 Desc
                                           Creditor Responses- Part 2 Page 117 of 211
 Name:




 Street1




 Street2




 City




 State




 Zip




 Country




 Telephone Number




 Email Address




 To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
 settle, or otherwise resolve the Motion on your behalf.
 Name:




 Street1




 Street2




 City




 State




 Zip




 Country




 Telephone Number




 Email Address




BlockFi Seventeenth Omnibus Objection Response Portal                          2/3
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                Case 22-19361-MBK         Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32              Desc
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                                                 blockfi_all_trade_report_all

Cryptocurrency Amount     Transaction Type                                        Exchange Rate Per Coin (USD) Confirmed At

ETH           0.46432304 UI Update: Wallet to BIA Transfer Request Not Executed                                2022-11-11 23:59:59

BTC           0.10881125 UI Update: Wallet to BIA Transfer Request Not Executed                                2022-11-11 23:59:59

LTC           0.56495813 UI Update: Wallet to BIA Transfer Request Not Executed                                2022-11-11 23:59:59

LTC           0.56495813 BIA Withdraw                                                                          2022-11-11 20:32:19

ETH           0.46432304 BIA Withdraw                                                                          2022-11-11 20:32:09

BTC           0.10881125 BIA Withdraw                                                                          2022-11-11 20:28:35

ETH           0.00135439 Interest Payment                                                                      2022-10-31 23:59:59

BTC           0.00031527 Interest Payment                                                                      2022-10-31 23:59:59

LTC           0.00094922 Interest Payment                                                                      2022-10-31 23:59:59

GUSD          3.41000000 Bonus Payment                                                                         2022-10-20 23:59:59

BTC           0.00030420 Interest Payment                                                                      2022-09-30 23:59:59

LTC           0.00091710 Interest Payment                                                                      2022-09-30 23:59:59

ETH           0.00130710 Interest Payment                                                                      2022-09-30 23:59:59

BTC           0.00031155 Interest Payment                                                                      2022-08-31 23:59:59

ETH           0.00134664 Interest Payment                                                                      2022-08-31 23:59:59

LTC           0.00094612 Interest Payment                                                                      2022-08-31 23:59:59

ETH           0.00134292 Interest Payment                                                                      2022-07-31 23:59:59

LTC           0.00094457 Interest Payment                                                                      2022-07-31 23:59:59

BTC           0.00030907 Interest Payment                                                                      2022-07-31 23:59:59

LTC           0.00091260 Interest Payment                                                                      2022-06-30 23:59:59

BTC           0.00025350 Interest Payment                                                                      2022-06-30 23:59:59

ETH           0.00111360 Interest Payment                                                                      2022-06-30 23:59:59

BTC           0.00026164 Interest Payment                                                                      2022-05-31 23:59:59

ETH           0.00114793 Interest Payment                                                                      2022-05-31 23:59:59

LTC           0.00163432 Interest Payment                                                                      2022-05-31 23:59:59

BTC           0.00033720 Interest Payment                                                                      2022-04-30 23:59:59

ETH           0.00146970 Interest Payment                                                                      2022-04-30 23:59:59

LTC           0.00157740 Interest Payment                                                                      2022-04-30 23:59:59

LTC           0.00162502 Interest Payment                                                                      2022-03-31 23:59:59

ETH           0.00188232 Interest Payment                                                                      2022-03-31 23:59:59

BTC           0.00039122 Interest Payment                                                                      2022-03-31 23:59:59

BTC           0.00035308 Interest Payment                                                                      2022-02-28 23:59:59

LTC           0.00146384 Interest Payment                                                                      2022-02-28 23:59:59

ETH           0.00169372 Interest Payment                                                                      2022-02-28 23:59:59

BTC           0.00039060 Interest Payment                                                                      2022-01-31 23:59:59

ETH           0.00186744 Interest Payment                                                                      2022-01-31 23:59:59

LTC           0.00161603 Interest Payment                                                                      2022-01-31 23:59:59

ETH           0.00185969 Interest Payment                                                                      2021-12-31 23:59:59

BTC           0.00039029 Interest Payment                                                                      2021-12-31 23:59:59

LTC           0.00217248 Interest Payment                                                                      2021-12-31 23:59:59

LTC           0.00209460 Interest Payment                                                                      2021-11-30 23:59:59

ETH           0.00179250 Interest Payment                                                                      2021-11-30 23:59:59

BTC           0.00037740 Interest Payment                                                                      2021-11-30 23:59:59

ETH           0.00176842 Interest Payment                                                                      2021-10-31 23:59:59

BTC           0.00038037 Interest Payment                                                                      2021-10-31 23:59:59

LTC           0.00215574 Interest Payment                                                                      2021-10-31 23:59:59

BTC           0.00807465 Crypto Transfer                                                                       2021-10-10 06:17:52

ETH           0.05725713 Crypto Transfer                                                                       2021-10-10 06:09:14

ETH           0.00154920 Interest Payment                                                                      2021-09-30 23:59:59




                                                                1
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BTC   0.00034770 Interest Payment                                                        2021-09-30 23:59:59

LTC   0.00207840 Interest Payment                                                        2021-09-30 23:59:59

LTC   0.00202926 Interest Payment                                                        2021-08-31 23:59:59

BTC   0.00031899 Interest Payment                                                        2021-08-31 23:59:59

ETH   0.00128185 Interest Payment                                                        2021-08-31 23:59:59

LTC   0.00202151 Interest Payment                                                        2021-07-31 23:59:59

BTC   0.00031806 Interest Payment                                                        2021-07-31 23:59:59

ETH   0.00127782 Interest Payment                                                        2021-07-31 23:59:59

LTC   0.00237210 Interest Payment                                                        2021-06-30 23:59:59

ETH   0.00138300 Interest Payment                                                        2021-06-30 23:59:59

BTC   0.00038160 Interest Payment                                                        2021-06-30 23:59:59

LTC   0.00244001 Interest Payment                                                        2021-05-31 23:59:59

BTC   0.00037485 Interest Payment                                                        2021-05-31 23:59:59

ETH   0.00142383 Interest Payment                                                        2021-05-31 23:59:59

BTC   0.00471896 Crypto Transfer                                                         2021-05-14 19:29:43

BTC   0.00485916 Crypto Transfer                                                         2021-05-14 19:29:43

LTC   0.00276210 Interest Payment                                                        2021-04-30 23:59:59

BTC   0.00040335 Interest Payment                                                        2021-04-30 23:59:59

ETH   0.00155658 Interest Payment                                                        2021-04-30 23:59:59

BTC   0.00095968 Crypto Transfer                                                         2021-04-19 17:06:17

ETH   0.04541000 Crypto Transfer                                                         2021-04-06 06:14:32

LTC   0.00283898 Interest Payment                                                        2021-03-31 23:59:59

BTC   0.00039992 Interest Payment                                                        2021-03-31 23:59:59

ETH   0.00136794 Interest Payment                                                        2021-03-31 23:59:59

BTC   0.00408703 Crypto Transfer                                                         2021-03-20 09:42:21

ETH   0.06873030 Crypto Transfer                                                         2021-03-08 17:25:55

BTC   0.00033492 Interest Payment                                                        2021-02-28 23:59:59

LTC   0.00255164 Interest Payment                                                        2021-02-28 23:59:59

ETH   0.00042941 Interest Payment                                                        2021-02-28 23:59:59

ETH   0.05918876 Crypto Transfer                                                         2021-02-28 15:52:28

BTC   0.00100447 Crypto Transfer                                                         2021-02-28 15:49:04

BTC   0.00281970 Crypto Transfer                                                         2021-02-21 19:22:00

ETH   0.07891300 Crypto Transfer                                                         2021-02-21 19:04:25

BTC   0.00119600 Crypto Transfer                                                         2021-02-17 11:06:53

ETH   0.02892910 Crypto Transfer                                                         2021-02-17 11:02:03

BTC   0.00060731 Crypto Transfer                                                         2021-02-10 06:42:00

ETH   0.04922285 Crypto Transfer                                                         2021-02-10 06:35:50

ETH   0.00002608 Interest Payment                                                        2021-01-31 23:59:59

LTC   0.00217899 Interest Payment                                                        2021-01-31 23:59:59

BTC   0.00035055 Interest Payment                                                        2021-01-31 23:59:59

BTC   0.00000547 Crypto Transfer                                                         2021-01-27 06:23:07

BTC   0.00180540 Crypto Transfer                                                         2021-01-27 05:39:35

ETH   0.04642982 Crypto Transfer                                                         2021-01-27 05:14:31

BTC   0.00176589 Crypto Transfer                                                         2021-01-11 14:57:03

LTC   0.00216411 Interest Payment                                                        2020-12-31 23:59:59

BTC   0.00031832 Interest Payment                                                        2020-12-31 23:59:59

BTC   0.00210653 Crypto Transfer                                                         2020-12-30 11:30:05

BTC   0.00296430 Crypto Transfer                                                         2020-12-16 15:18:18

BTC   0.00319547 Crypto Transfer                                                         2020-12-10 21:02:01

BTC   0.00008262 Interest Payment                                                        2020-12-01 04:59:59

LTC   0.00062748 Interest Payment                                                        2020-12-01 04:59:59




                                                  2
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BTC   0.00309617 Crypto Transfer                                                         2020-11-30 18:29:31

LTC   0.52188451 Crypto Transfer                                                         2020-11-21 15:51:21

BTC   0.05753879 Crypto Transfer                                                         2020-11-21 15:33:33




                                                  3
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                                                     BlockFi Seventeenth Omnibus Objection Response Portal
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 BlockFi Seventeenth Omnibus Objection Response Portal
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                                                                                   First Class Mail


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                                                                     c/o Kroll Restructuring Administration LLC
                                                                          Grand Central Station, PO Box 4850
                                                                              New York, NY 10163-4850


                                                                                   Overnight Mail


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                                                                     c/o Kroll Restructuring Administration LLC
                                                                             850 Third Avenue, Suite 412
                                                                                 Brooklyn, NY 11232


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 Please enter your Unique ID here

   AYK3-5M55-3VDJ-UK5E


     Where can I find my Unique ID?




 Claim Information

 Claim Number

   1278

 Claim Name




 Claimant Address on File




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BlockFi Seventeenth Omnibus Objection Response Portal                                    1/3
           Case 22-19361-MBK                 Doc  2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
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                                                                                                                                                 Desc
                                           Creditor Responses- Part 2 Page 124 of 211
 Name:




 Street1




 Street2




 City




 State




 Zip




 Country




 Telephone Number




 Email Address




 To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
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 Street1




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BlockFi Seventeenth Omnibus Objection Response Portal                          2/3
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 BlockFi Seventeenth Omnibus Objection Response Portal
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                                                                                   First Class Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                          Grand Central Station, PO Box 4850
                                                                              New York, NY 10163-4850


                                                                                   Overnight Mail


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 Logon

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 only once.
 Please enter your Unique ID here

   SW4B-888C-J63D-8DPS


     Where can I find my Unique ID?

 Please review the bottom left side of the correspondence you received from Kroll to locate your 16 digit Unique ID.




BlockFi Seventeenth Omnibus Objection Response Portal                                    1/4
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 To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
 settle, or otherwise resolve the Motion on your behalf.
 Name:




 Street1




 Street2




 City




 State




 Zip




 Country




 Telephone Number




 Email Address




 Document Upload

 Please upload your response to the Objection in the box below. You may upload up to 3 documents in either .PDF or .DOC format. Each document may be up to
 20 MBs or 30 MBs across all documents.
 Upload Here

       032124 - Objection to Claim                     ).pdf                                                                                             231 KB




BlockFi Seventeenth Omnibus Objection Response Portal                          3/4
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   03-21-2024




     Claim Number: 1317
     Claimant Name:

     Unique ID: SW4B-888C-J63D-8DPS
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     I am writing to formally object to the asserted claim amount of $28,922.47 (or 22.9 ETH)
     Dated 01/11/2023. Upon review, I Yind that the claim amount are inaccurate and do not
     reYlect the facts accurately. My objections are as follows.:


        1.   The weighted average transaction price of 1 ETH is $2,436.80.
        2.   Total asserted claim amount should be $55802.72 (or 22.5 ETH)
        3.   See Exhibit 1 for loan payoff amount in USD from www.blockYi.com
        4.   Would like the loan paid off and request remaining funds returned in ETH.


     I request that this claim be corrected to accurately represent the situation. Furthermore,
     I am open to discussing these objections further and Yinding an amicable resolution to
     this matter. Please contact me at your earliest convenience to arrange a meeting or
     further correspondence.


     Thank you for your attention to this matter.


     Sincerely,
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     Exhibit 1
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 BlockFi Seventeenth Omnibus Objection Response Portal
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 Please enter your Unique ID here

   6BZ3-CYJQ-RHYP-ZTVY


     Where can I find my Unique ID?




 Claim Information

 Claim Number

   5671

 Claim Name




 Claimant Address on File




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BlockFi Seventeenth Omnibus Objection Response Portal                                    1/3
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 Name:




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BlockFi Seventeenth Omnibus Objection Response Portal                          2/3
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                                                                                 Brooklyn, NY 11232


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   QGC2-ZEKZ-Y7Y2-ZMDM


     Where can I find my Unique ID?




 Claim Information

 Claim Number

   12503

 Claim Name




 Claimant Address on File




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BlockFi Seventeenth Omnibus Objection Response Portal                                    1/3
           Case 22-19361-MBK                 Doc  2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
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                                           Creditor Responses- Part 2 Page 151 of 211
 Name:




 Street1




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 City




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 Zip




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 Telephone Number




 Email Address




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BlockFi Seventeenth Omnibus Objection Response Portal                          2/3
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                                                                          Grand Central Station, PO Box 4850
                                                                              New York, NY 10163-4850


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   N4H6-VP8F-D9T8-PEK8


     Where can I find my Unique ID?




 Claim Information

 Claim Number

   21404

 Claim Name




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           Case 22-19361-MBK                 Doc  2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
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                                                                                                                                                 Desc
                                           Creditor Responses- Part 2 Page 155 of 211
 Name:




 Street1




 Street2




 City




 State




 Zip




 Country




 Telephone Number




 Email Address




 To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
 settle, or otherwise resolve the Motion on your behalf.
 Name:




 Street1




 Street2




 City




 State




 Zip




 Country




 Telephone Number




 Email Address




BlockFi Seventeenth Omnibus Objection Response Portal                          2/3
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                                                     BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                                  Desc
                                                 Creditor Responses- Part 2 Page 158 of 211
 BlockFi Seventeenth Omnibus Objection Response Portal
 Introduction

 On November 28, 2022, BlockFi Inc. and 8 affiliated debtors (collectively, "BlockFi") each filed a voluntary pe ition for relief under Chapter 11 of the United States Bankruptcy
 Code in the United States Bankruptcy Court for the District of New Jersey (the “Court”). Thereafter, the Bankruptcy Court set March 31, 2023, at 5:00 p m., as the deadline
 for all persons and entities that assert a claim against BlockFi, arising prior to November 28, 2022, to imely file a proof of claim.


 On March 4, 2024, BlockFi, as supervised by the Plan Administrator, filed the Wind-Down Debtors’ Seventeenth Omnibus Objection to Claims (the “Objection”). If you filed a
 claim against BlockFi and your claim is affected by the Objection, the Objection and information pertaining to your claim was sent to you by Kroll Restructuring Administration
 LLC (“Kroll”) by email or first class mail on or around March 8, 2024.

 In order to assist he Court with collecting responses to the Objection, Kroll is collecting responses electronically through this portal or by hard copy at the address below.
 For your response to be timely, it must be received by Kroll on or before April 2, 2024 at 4:00 p.m. prevailing Eastern Time. PLEASE NOTE THAT YOU DO NOT
 NEED TO FILE A RESPONSE IF YOU AGREE WITH THE PROPOSED MODIFICATION OR EXPUNGEMENT OF YOUR CLAIM.


                                                                                   First Class Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                          Grand Central Station, PO Box 4850
                                                                              New York, NY 10163-4850


                                                                                   Overnight Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                             850 Third Avenue, Suite 412
                                                                                 Brooklyn, NY 11232


 Please follow the steps below to logon to this portal and to submit your response to he Objection. If you have any questions on this portal please feel free to reach out to
 Kroll by phone at (888) 773-0375 (Toll Free) or (646) 440-4371 (International), or by email at blockfiinfo@ra.kroll.com.




 Logon

 On or around March 8, 2024, Kroll sent you an email or mail package regarding BlockFi’s Objection. This
 email or mail package contains a 16-digit Unique ID number. Please enter the Unique ID number in the
 field below to enter this portal. Make one submission per Unique ID number. Each Unique ID may be used
 only once.
 Please enter your Unique ID here

   WKA7-4JGW-3V9G-ES2E


     Where can I find my Unique ID?




 Claim Information

 Claim Number

   2414

 Claim Name




 Claimant Address on File




 To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
 where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.




BlockFi Seventeenth Omnibus Objection Response Portal                                    1/3
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                                               BlockFi Seventeenth Omnibus Objection Response Portal
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                                           Creditor Responses- Part 2 Page 159 of 211
 Name:




 Street1




 Street2




 City




 State




 Zip




 Country




 Telephone Number




 Email Address




 To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
 settle, or otherwise resolve the Motion on your behalf.
 Name:




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 City




 State




 Zip




 Country




 Telephone Number




 Email Address




BlockFi Seventeenth Omnibus Objection Response Portal                          2/3
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CryptocurrencyAmount                      Transaction Type
GUSD                                  -11 Withdrawal Fee
GUSD                                 -8.5 Withdrawal
LINK                         0.00783494 Interest Payment
UNI                          0.01283927 Interest Payment
ETH                          0.00637422 Interest Payment
GUSD                         0.00006448 Interest Payment
BAT                          0.22336058 Interest Payment
BTC                          0.00077686 Interest Payment
GUSD                                 19.5 Bonus Payment
UNI                           0.0124149 Interest Payment
LINK                          0.0075762 Interest Payment
ETH                           0.0061587 Interest Payment
BAT                           0.2159787 Interest Payment
GUSD                          0.0000621 Interest Payment
BTC                           0.0007506 Interest Payment
ETH                          0.00635314 Interest Payment
LINK                         0.00782192 Interest Payment
BTC                          0.00077407 Interest Payment
BAT                           0.2229892 Interest Payment
UNI                          0.01281788 Interest Payment
GUSD                         0.00006386 Interest Payment
UNI                          0.01280703 Interest Payment
BAT                          0.22280103 Interest Payment
GUSD                         0.00006355 Interest Payment
ETH                           0.0063426 Interest Payment
LINK                         0.00781541 Interest Payment
BTC                          0.00077283 Interest Payment
UNI                           0.0123837 Interest Payment
BAT                           0.2154375 Interest Payment
GUSD                            0.000057 Interest Payment
BTC                           0.0004563 Interest Payment
ETH                              0.00507 Interest Payment
LINK                            0.007557 Interest Payment
UNI                          0.04105826 Interest Payment
LINK                         0.02315886 Interest Payment
GUSD                         0.00005859 Interest Payment
BAT                          0.22243089 Interest Payment
ETH                          0.00523249 Interest Payment
BTC                          0.00047151 Interest Payment
BTC                           0.0005403 Interest Payment
ETH                           0.0063108 Interest Payment
UNI                           0.0396294 Interest Payment
GUSD                          0.0000585 Interest Payment
BAT                           0.2150796 Interest Payment
LINK                          0.0186804 Interest Payment
UNI                          0.04084467 Interest Payment
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GUSD                        0.00006603 Interest Payment
ETH                         0.00781913 Interest Payment
LINK                        0.01926247 Interest Payment
BTC                         0.00060202 Interest Payment
BAT                         0.22206106 Interest Payment
LINK                         0.0173656 Interest Payment
GUSD                        0.00006468 Interest Payment
ETH                         0.00705432 Interest Payment
BTC                         0.00054348 Interest Payment
BAT                          0.2004184 Interest Payment
UNI                         0.03680152 Interest Payment
UNI                         0.01050736 Interest Payment
GUSD                        0.00001888 Interest Payment
BAT                         0.05724992 Interest Payment
BTC                         0.00054697 Interest Payment
ETH                         0.00686927 Interest Payment
LINK                        0.00495888 Interest Payment
GUSD                            -149.99 Trade
LINK                        9.15328652 Trade
GUSD                               -175 Trade
UNI                        14.96722776 Trade
GUSD                               -200 Trade
BAT                         262.396737 Trade
GUSD                              -2475 Trade
ETH                         0.99290897 Trade
GUSD                              -4000 Trade
BTC                         0.11212136 Trade
GUSD                               7000 Ach Deposit
ETH                         0.00653697 Interest Payment
BTC                         0.00052731 Interest Payment
ETH                          0.0063183 Interest Payment
BTC                             0.00051 Interest Payment
BTC                         0.00052638 Interest Payment
ETH                         0.00652054 Interest Payment
BTC                          0.0005091 Interest Payment
ETH                          0.0063018 Interest Payment
BTC                         0.00087358 Interest Payment
ETH                         0.00521482 Interest Payment
BTC                         0.00087234 Interest Payment
ETH                         0.00519777 Interest Payment
ETH                          0.0056262 Interest Payment
BTC                          0.0010566 Interest Payment
BTC                         0.00108717 Interest Payment
ETH                         0.00579204 Interest Payment
BTC                          0.0012507 Interest Payment
ETH                          0.0064866 Interest Payment
ETH                         0.00667771 Interest Payment
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BTC                         0.00128489 Interest Payment
BTC                              0.0008 Crypto Transfer
ETH                         0.00600796 Interest Payment
BTC                         0.00114842 Interest Payment
BTC                              0.0026 Crypto Transfer
ETH                         0.00021454 Interest Payment
BTC                         0.00004504 Interest Payment
BTC                         0.12476419 Crypto Transfer
BTC                         0.03142792 Crypto Transfer
BTC                         0.07167702 Crypto Transfer
ETH                         1.52707439 Crypto Transfer
BTC                         0.02682358 Crypto Transfer
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Exchange Rate Per Coin (USD)             Confirmed At
                                                        10/12/2023 18:12
                                                        10/12/2023 18:12
                                                        10/31/2022 23:59
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                                                1/31/2021 23:59
                                                1/30/2021 19:37
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                                          HELP CENTER, NEWS




            Estate Withdrawals FAQs
                                PUBLISHED BY BLOCKFI 229 ON MARCH 1, 2024




         General

         Which BlockFi Products are included as part of the Estate?


                BlockFi Interest Account (BIA), BlockFi Private Client (BPC), BlockFi
                Retail Loans.


         What authorization did the Court provide BlockFi with respect to Estate
         distributions?


                On January 17, 2024, the United States Bankruptcy Court for the
                District of New Jersey (the “Court”) granted relief necessary for
                BlockFi to commence interim distributions. Beginning in February,
                clients in BlockFi’s remaining products including BlockFi Interest
                Account (BIA), loans clients and private clients, may be able to
                initiate withdrawal requests. TO BE ELIGIBLE FOR A DISTRIBUTION
Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32                  Desc
                 CLAIMANTS Responses-
                   Creditor            Part
                            MUST HAVE AN    2 Page
                                         ALLOWED    168CLAIMANTS
                                                 CLAIM. of 211   WHO
                 HAVE FILED A CLAIM THAT HAS NOT BEEN RECONCILED AND
                 ALLOWED WILL BE ELIGIBLE FOLLOWING THE RECONCILIATION OF
                 THEIR CLAIM.


         How can I view my claim details within the BlockFi Web App?


         Once you login to your BlockFi account and navigate to the dashboard, the
         following details will be available as it relates to your claim.


                 BIA + Interest Claim: The USD value of your BIA/BPC funds & any
                 applicable accrued interest for these funds as of the date BlockFi
                 declared bankruptcy.
                          Total Claims: Total USD value of your BIA/BPC funds & any
                          applicable accrued interest for these funds as of the date
                          BlockFi declared bankruptcy.
                          Current Recoverable Claims: Current total amount
                          authorized for distribution on your BlockFi claims. Note that
                          this value will increase based on any future distributions
                          announced.
                 Loan Less Offset Claim: The USD value of any outstanding retail
                 loan collateral as of the date BlockFi declared bankruptcy minus any
                 outstanding loan principal owed back to BlockFi.
                          Total Claims: Total USD value of your outstanding retail loan
                          collateral as of the date BlockFi declared bankruptcy minus
                          any outstanding loan principal owed back to BlockFi.
                          Current Recoverable Claims: Current total amount
                          authorized for distribution on your BlockFi claims. Note that
                          this value will increase based on any future distributions
                          announced.
                 Withdrawable Balances: The amount of unwithdrawn current
                 recoverable claim funds, per balance type, at this time.


         Which digital assets are available for withdrawal for eligible clients?
Case 22-19361-MBK     Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32               Desc
                   Creditor  Responses-
                 BTC, ETH, GUSD, USDC and Part
                                          USDT2will Page  169 of
                                                    be available to 211
                                                                    eligible clients
                 for withdrawal as applicable.
                 The amount of digital assets made available for eligible client
                 withdrawals was determined based on the following prices:


          Currency                     Conversion Price

          BTC                          $45,824.58

          ETH                          $2,436.80

          GUSD                         $1.00000

          USDC                         $0.99932

          USDT                         $0.99820


         Why do I see “This account is not currently open for distributions. The Plan
         Administrator continues to open distributions on Allowed Claims, and
         further accounts will be open in the near future. Please monitor
         communications from BlockFi for more detail. If you have questions please
         contact blockfiinfo@ra.kroll.com” next to my Total Claim Amount and / or
         Current Recoverable Claims under my dashboard within the BlockFi Web
         App?


                 This would indicate that:
                         Your claim has not yet been released for distribution – OR –
                         You filed a claim that does not match the company’s books
                         and records. If this is the case, funds cannot be released
                         until the court determines the amount that is owed to the
                         claimant.


         Why do I see “Cash Distribution” under the Transactions section of my
         Account Dashboard?


         If you held currencies other than BTC, ETH, GUSD, USDC, or USDT in any of
         the estate products (BIA, BPC, BlockFi Retail Loans), your withdrawable
Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32                  Desc
                   Creditor  Responses-
         balance may consist of             Part 2 Page 170 of 211
                                a USD cash distribution.


         If there is such a cash distribution, you will be able to see it under the
         Transactions section of your Account Dashboard labeled as “Cash
         Distribution”. Further instructions on how to process your cash withdrawal
         will be emailed to you by Kroll and Digital Disbursements.


         Where can I access my historical loans data?


                 All historical loan transaction data can be found by navigating to the
                 “Reports” page from the drop-down menu on the upper right hand
                 corner of the Dashboard screen.
                 On the Reports page, you may access your entire transaction history,
                 including all loan transactions, by navigating to the “Download All”
                 button under the “All Transactions” section.


         What if I have questions or need help?


                 Additional information regarding BlockFi’s chapter 11 cases can be
                 found by visiting Kroll’s website at
                 https://restructuring.ra.kroll.com/blockfi.



         Eligibility

         Who’s eligible to withdraw?


                 Convenience Class clients
                         Clients who opted to receive digital assets will have the
                         option to withdraw digital assets via the BlockFi Web App.
                         Clients who opted to receive cash will receive cash USD
                         through Kroll.
                 All non-preference clients in the US and Internationally, with the
                 exception of clients with preferences, AML, KYC or other blocked
                 account issues, who have an allowed claim.
Case 22-19361-MBK    Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32                  Desc
                   Creditor   Responses-
         How do I know if I’m eligible        Part 2 Page 171 of 211
                                       to withdraw?


                Estate withdrawals will be conducted in batches and you will receive
                an email with further instructions when you are eligible to begin
                withdrawals.



         Timeline

         When does the withdrawal process begin?


                First batch of withdrawals available to withdraw starting March 1,
                2024
                BlockFi will release new waves of eligible withdrawals through March
                2024.


         How long will eligible clients have to submit a withdrawal?


                You will be eligible to initiate the withdrawal of estate funds through
                March 31, 2024 at 11:59 PM UTC. We recommend initiating the
                withdrawal process immediately, as the personal identity verification
                process may take some time.
                Identity Verification information requests must be received by April
                10, 2024 at 11:59 PM UTC.


         How long will it take BlockFi to process my withdrawal?


                Please note, that due to the high volume of requests, withdrawals
                may take 90 days or more to process once submitted. BlockFi will
                process withdrawals as quickly as possible while maintaining
                security protocols.


         What happens if I do not complete my Estate withdrawal request and
         process before the deadline?
Case 22-19361-MBK     Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32                   Desc
                    Creditor Responses-
                 Crypto withdrawals will only Part 2 Page
                                              be available for a172  of period
                                                                limited 211 of time.
                 Unwithdrawn crypto may be liquidated and made available for
                 distribution via cash. ALL CLAIMANTS ARE URGED TO SUBMIT A
                 WITHDRAWAL REQUEST AS SOON AS THEIR ACCOUNTS ARE
                 ELIGIBLE FOR A DISTRIBUTION.


         What happens if I don’t want to withdraw my digital assets?


                 Digital assets that are not withdrawn during the withdrawal period
                 may be liquidated and made available for withdrawal in USD through
                 a partner.


         Where do I see the status of my withdrawal request?


                 You can check the status of your withdrawal request in the
                 Transaction History on the dashboard page of your BlockFi account.
                 From there, you will be able to locate the specific withdrawal request
                 transaction. The status of your withdrawal request can be viewed by
                 clicking into the transaction details of the withdrawal request on the
                 web app. Your withdrawal request will have one of the following
                 statuses at any given time: Pending, Completed, Canceled.



         Withdrawal Process

         What steps do clients need to take to facilitate a withdrawal?


         BlockFi customers will need to take the following steps in order to facilitate a
         withdrawal to their external wallet:


                 Create an External Wallet: Clients who are eligible and choose to
                 withdraw assets in digital assets, will be able to make withdrawals to
                 a third-party external digital asset wallet provider of their choice.
                 BlockFi cannot recommend clients use a specific platform, and we
Case 22-19361-MBK     Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32                  Desc
                   Creditor   Responses-
                 encourage clients to performPart
                                              their2ownPage   173toof
                                                       diligence      211 that their
                                                                    ensure
                 assets are transferred safely and securely.
                 Identity Verification Process:Clients will need to complete an Identity
                 Verification Process for their withdrawal to be processed. The
                 information to complete this process will be emailed to clients once a
                 withdrawal request has been submitted. You can find additional
                 information about this process here.


         Will I be able to withdraw cash instead of digital assets from my BlockFi
         account?


                 Clients who are eligible to receive cash distributions will be able to
                 access a link after logging in to the BlockFi platform in the dashboard
                 banner that redirects to our partner, Kroll (Digital Disbursements).
                 Further instructions on how to process your withdrawal will be
                 provided on the Digital Disbursements platform.



         Identity Verification and Account
         Security

         What steps does BlockFi recommend for clients to protect their accounts?


         To ensure your account remains protected, we encourage clients to take the
         following steps:


                 Two-Factor Authentication: Ensure your two-factor authentication,
                 or 2FA, is enabled on your BlockFi account. To turn on 2FA, please
                 log in to your BlockFi account through the web app and visit the
                 Security page within your Profile Settings. Under ‘Two-Factor
                 Authentication,’ click ‘Enable 2FA’ and follow the instructions to set
                 up your 2FA via the Google Authenticator app. For instructions on
                 how to reset your 2FA, click here.
                 Turn on Allowlisting for BlockFi: Allowlisting is a security feature
                 which, when enabled, only allows you to withdraw from your BlockFi
Case 22-19361-MBK      Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32                Desc
                     Creditor  Responses-
                  account to addresses       Partbeen
                                       that have   2 saved
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                                                             yourof 211Address
                                                                  Wallet
                  Book. We recommend all clients take this action as it significantly
                  reduces the risk of impact to your account by a bad actor.
                  Instructions on how to turn on Allowlisting are available here. Once
                  you have Allowlisting enabled, please visit the “Crypto Addresses”
                  page within your Profile Settings on the BlockFi website to add an
                  external wallet address to your BlockFi account.
                  Please note that when a new wallet address is added to Allowlisting,
                  there will be a seven-day waiting period before a withdrawal
                  request can be submitted.


         Why do I need to verify my identity?


         BlockFi will occasionally ask you to verify your identity to ensure no one but
         yourself requests withdrawals or makes account-related changes, including
         2FA reset requests and email change requests.


         We VERY much encourage all of our clients to enable two-factor
         authentication (2FA) and withdrawal address allowlisting. This combination
         removes a significant amount of risk, but even when used together, is not a
         “silver bullet”.


         Behind the scenes we run analytics based on a number of factors to
         determine the risk of any client transaction, especially withdrawals.
         Occasionally, a withdrawal may trigger a PII verification—even with 2FA and
         allowlisting enabled.


         Identity verification has less to do with AML and KYC and more to do with us
         wanting to be sure you are in fact you and the withdrawal is valid. This
         verification decision is fed by numerous variables, which can include amount,
         velocity of transactions, and geographic location.


         When prompted to verify your identity, all documents must be verified
         through the Persona link emailed to you. Please note: we will never send you
         this link via SMS. If you have any questions about if a communication from
Case 22-19361-MBK       Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32             Desc
                     Creditor   Responses-
         BlockFi is legitimate, please         Partat2 blockfiinfo@ra.kroll.com.
                                       contact Kroll      Page 175 of 211 When
         you contact Kroll, please be sure to provide the email address associated
         with your BlockFi account to avoid delays in response to your inquiry.


         Here are some tips and best practices to make the verification process as
         painless as possible:


                 Do not use a scanned image or copy of your ID. Please ensure you
                 upload live images of your ID.
                 Use a smartphone instead of a webcam as it typically produces the
                 clearest photo.
                 If you must use a webcam, try setting the ID flat down and move the
                 webcam instead of moving the ID.
                 Avoid lighting that may cause glare (natural light typically works
                 best).
                 Rest your ID on a solid, dark or contrasting surface.
                 Don’t hold the ID in your hands as your fingers may confuse the lens
                 focus.
                 For the “selfie” portion of the verification, ensure you face the
                 camera directly and at eye-level.
                 Pose in front of a plain wall or background.
                 Do not wear sunglasses or a hat.
                 Ensure camera permissions are enabled for Persona on your device.


         Acceptable Identity Documents United States


                 State-issue IDs (Driver License or Identification Card)
                 US Passport


         Outside of US


                 Government issued photo ID
                 National Identity Card
                 Passport
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         Unacceptable IdentityResponses-
                  Creditor     Documents Part 2 Page 176 of 211


                 Expired IDs
                 School IDs
                 Medical IDs
                 Temporary (paper) IDs
                 Residence Permit
                 Public Services Card
                 Military IDs


         Currently, BlockFi only has the ability to process Identity Documents that are
         written in a Latin alphabet. We understand that this is frustrating and we are
         working to expand our capabilities. In the interim, if your documents are
         written in a non-Latin alphabet, we must ask that you have them translated
         by a reputable 3rd party translator such as a law firm or certified translator
         before submitting them to us.



         Fees

         Why is BlockFi charging transaction fees for withdrawals?


                 As a blockchain transaction, withdrawals are subject to any
                 applicable third-party transaction fees and/or withdrawal fees from
                 the blockchain network.


         How much are fees for each transaction?


                 Fees are calculated based on transaction processing costs and may
                 be adjusted from time to time based on market conditions, as set
                 forth in our Terms of Service. Please see here for the BlockFi Fee
                 Schedule for various digital currencies.


         How will fees impact my withdrawal?
          Case 22-19361-MBK      Doc 2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32                     Desc
                              Creditor Responses-
                          All withdrawals              Part
                                          shall be subject to 2
                                                              any Page   177third-party
                                                                  applicable of 211
                          transaction fees and/or withdrawal fees. To the extent applicable
                          fees are greater than eligible withdrawal balances, eligible balances
                          are not available to withdraw.




                   Previous Post                                                      Next Post
                   Wallet Withdrawal Closing           Resolution of Litigation Between BlockFi
                   FAQs                                                                and FTX




BlockFi                                                      Legal                                Resources


BlockFi                                                      Terms                                Fees
                                                             Licenses                             Rates
                                                                                                  Contact Us
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October 2022 BlockFi Interest Account Statement
Flex Selection                                 ---
Month Ending                                   October 31, 2022




You earned approximately
$26.17 * worth of crypto.

 Crypto Prices*                     Interest Earned                    Ending Balance

 1 BAT                              0.22336058                         264.41454392
 $0.30                              $0.07                              $78.40

 1 BTC                              0.00077686                         0.38614054
 $20,492.00                         $15.92                             $7,912.79

 1 ETH                              0.00637422                         2.65046327
 $1,572.90                          $10.03                             $4,168.91

 1 GUSD                             0.00006448                         0.01057767
 $1.00                              $0.00                              $0.01

 1 LINK                             0.00783494                         9.27531819
 $7.86                              $0.06                              $72.87

 1 UNI                              0.01283927                         15.19933174
 $6.96                              $0.09                              $105.79

 Total* in USD                      $26.17                             $12,338.77




* Amounts in USD are based on the closing price per CoinMarketCap and are for information purposes only.
Actual balances are denominated in cryptocurrency, not USD.
Actual amounts will vary based on activity, rates, and compliance with BlockFi’s terms & conditions.
           Case 22-19361-MBK                       Doc  2226-1 Filed 04/05/24 Entered 04/05/24 14:53:32
                                                     BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                                  Desc
                                                 Creditor Responses- Part 2 Page 180 of 211
 BlockFi Seventeenth Omnibus Objection Response Portal
 Introduction

 On November 28, 2022, BlockFi Inc. and 8 affiliated debtors (collectively, "BlockFi") each filed a voluntary pe ition for relief under Chapter 11 of the United States Bankruptcy
 Code in the United States Bankruptcy Court for the District of New Jersey (the “Court”). Thereafter, the Bankruptcy Court set March 31, 2023, at 5:00 p m., as the deadline
 for all persons and entities that assert a claim against BlockFi, arising prior to November 28, 2022, to imely file a proof of claim.


 On March 4, 2024, BlockFi, as supervised by the Plan Administrator, filed the Wind-Down Debtors’ Seventeenth Omnibus Objection to Claims (the “Objection”). If you filed a
 claim against BlockFi and your claim is affected by the Objection, the Objection and information pertaining to your claim was sent to you by Kroll Restructuring Administration
 LLC (“Kroll”) by email or first class mail on or around March 8, 2024.

 In order to assist he Court with collecting responses to the Objection, Kroll is collecting responses electronically through this portal or by hard copy at the address below.
 For your response to be timely, it must be received by Kroll on or before April 2, 2024 at 4:00 p.m. prevailing Eastern Time. PLEASE NOTE THAT YOU DO NOT
 NEED TO FILE A RESPONSE IF YOU AGREE WITH THE PROPOSED MODIFICATION OR EXPUNGEMENT OF YOUR CLAIM.


                                                                                   First Class Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                          Grand Central Station, PO Box 4850
                                                                              New York, NY 10163-4850


                                                                                   Overnight Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                             850 Third Avenue, Suite 412
                                                                                 Brooklyn, NY 11232


 Please follow the steps below to logon to this portal and to submit your response to he Objection. If you have any questions on this portal please feel free to reach out to
 Kroll by phone at (888) 773-0375 (Toll Free) or (646) 440-4371 (International), or by email at blockfiinfo@ra.kroll.com.




 Logon

 On or around March 8, 2024, Kroll sent you an email or mail package regarding BlockFi’s Objection. This
 email or mail package contains a 16-digit Unique ID number. Please enter the Unique ID number in the
 field below to enter this portal. Make one submission per Unique ID number. Each Unique ID may be used
 only once.
 Please enter your Unique ID here

   W7YD-B23C-7RYK-2ESZ


     Where can I find my Unique ID?




 Claim Information

 Claim Number

   28683

 Claim Name




 Claimant Address on File




 To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
 where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.




BlockFi Seventeenth Omnibus Objection Response Portal                                    1/3
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                                               BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                 Desc
                                           Creditor Responses- Part 2 Page 181 of 211
 Name:




 Street1




 Street2




 City




 State




 Zip




 Country




 Telephone Number




 Email Address




 To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
 settle, or otherwise resolve the Motion on your behalf.
 Name:




 Street1




 Street2




 City




 State




 Zip




 Country




 Telephone Number




 Email Address




BlockFi Seventeenth Omnibus Objection Response Portal                          2/3
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                                                     BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                                  Desc
                                                 Creditor Responses- Part 2 Page 193 of 211
 BlockFi Seventeenth Omnibus Objection Response Portal
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 In order to assist he Court with collecting responses to the Objection, Kroll is collecting responses electronically through this portal or by hard copy at the address below.
 For your response to be timely, it must be received by Kroll on or before April 2, 2024 at 4:00 p.m. prevailing Eastern Time. PLEASE NOTE THAT YOU DO NOT
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                                                                                   First Class Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                          Grand Central Station, PO Box 4850
                                                                              New York, NY 10163-4850


                                                                                   Overnight Mail


                                   BlockFi Inc. 17th Omnibus Objection Response Processing Center
                                                                     c/o Kroll Restructuring Administration LLC
                                                                             850 Third Avenue, Suite 412
                                                                                 Brooklyn, NY 11232


 Please follow the steps below to logon to this portal and to submit your response to he Objection. If you have any questions on this portal please feel free to reach out to
 Kroll by phone at (888) 773-0375 (Toll Free) or (646) 440-4371 (International), or by email at blockfiinfo@ra.kroll.com.




 Logon

 On or around March 8, 2024, Kroll sent you an email or mail package regarding BlockFi’s Objection. This
 email or mail package contains a 16-digit Unique ID number. Please enter the Unique ID number in the
 field below to enter this portal. Make one submission per Unique ID number. Each Unique ID may be used
 only once.
 Please enter your Unique ID here

   HJ3H-A92Y-NJ6Z-NYWJ


     Where can I find my Unique ID?




 Claim Information

 Claim Number

   588

 Claim Name




 Claimant Address on File




 To the extent different from the pre-populated address above, please provide your or your attorney’s name, address, telephone number, and email address
 where the attorneys for the Debtors should serve a reply to the Response you are submitting on this portal.




BlockFi Seventeenth Omnibus Objection Response Portal                                    1/3
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                                               BlockFi Seventeenth Omnibus Objection Response Portal
                                                                                                                                                 Desc
                                           Creditor Responses- Part 2 Page 194 of 211
 Name:




 Street1




 Street2




 City




 State




 Zip




 Country




 Telephone Number




 Email Address




 To the extent different from the pre-populated address above, the name, address, telephone number, and email address of the party with authority to reconcile,
 settle, or otherwise resolve the Motion on your behalf.
 Name:




 Street1




 Street2




 City




 State




 Zip




 Country




 Telephone Number




 Email Address




BlockFi Seventeenth Omnibus Objection Response Portal                          2/3
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                                                                        ! December 5 - January 4, 2024

                                                                                                                                                                   004 - 000 - 000 - G




IMPORTANT INFORMATION ABOUT THIS ACCOUNT

PAYING INTEREST - We will not charge interest on Purchases on the next                        CALCULATION OF BALANCES SUBJECT TO INTEREST RATE
statement if you pay the New Balance Total in full by the Payment Due Date,                   Average Daily Balance Method (including new Purchases): We calculate
and you had paid in full by the previous Payment Due Date. We will begin                      separate Balances Subject to an Interest Rate for Purchases and for each
charging interest on Balance Transfers and Cash Advances on the transaction                   Introductory or Promotional Offer balance consisting of Purchases. We do this
date.                                                                                         by: (1) calculating a daily balance for each day in the billing cycle; (2) adding all
TOTAL INTEREST CHARGE COMPUTATION - Interest Charges accrue and                               the daily balances together; and (3) dividing the sum of the daily balances by
are compounded on a daily basis. To determine the Interest Charges, we                        the number of days in the billing cycle.
multiply each Balance Subject to Interest Rate by its applicable Daily Periodic               To calculate the daily balance for each day in this statement's billing cycle, we:
Rate and that result is multiplied by the number of days in the billing cycle. To             (1) take the beginning balance; (2) add an amount equal to the applicable Daily
determine the total Interest Charge for the billing cycle, we add the Periodic                Periodic Rate multiplied by the previous day's daily balance; (3) add new
Rate Interest Charges together. A Daily Periodic Rate is calculated by dividing               Purchases, new Account Fees, and new Transaction Fees; and (4) subtract
an Annual Percentage Rate by 365.                                                             applicable payments and credits. If any daily balance is less than zero we treat
HOW WE ALLOCATE YOUR PAYMENTS - Payments are allocated to                                     it as zero.
posted balances. If your account has balances with different APRs, we will                    Average Balance Method (including new Balance Transfers and new Cash
allocate the amount of your payment equal to the Total Minimum Payment Due                    Advances): We calculate separate Balances Subject to an Interest Rate for
to the lowest APR balances first (including transactions made after this                      Balance Transfers, Cash Advances, and for each Introductory or Promotional
statement). Payment amounts in excess of your Total Minimum Payment Due                       Offer balance consisting of Balance Transfers or Cash Advances. We do this by:
will be applied to balances with higher APRs before balances with lower APRs.                 (1) calculating a daily balance for each day in this statement's billing cycle; (2)
IMPORTANT INFORMATION ABOUT PAYMENTS BY PHONE - When                                          calculating a daily balance for each day prior to this statement's billing cycle
using the optional Pay-by-Phone service, you authorize us to initiate an                      that had a "Pre-Cycle balance" - a Pre-Cycle balance is a Balance Transfer or a
electronic payment from your account at the financial institution you designate.              Cash Advance with a transaction date prior to this statement's billing cycle but
You must authorize the amount and timing of each payment. For your                            with a posting date within this statement's billing cycle; (3) adding all the daily
protection, we will ask for security information. To cancel, call us before the               balances together; and (4) dividing the sum of the daily balances by the number
scheduled payment date. Same-day payments cannot be edited or canceled.                       of days in this statement's billing cycle.
YOUR CREDIT LINES - The Total Credit Line is the amount of credit                             To calculate the daily balance for each day in this statement's billing cycle, we:
available for the account; however, only a portion of that is available for Bank              (1) take the beginning balance; (2) add an amount equal to the applicable Daily
Cash Advances. The Cash Credit Line is that amount you have available for                     Periodic Rate multiplied by the previous day's daily balance; (3) add new
Bank Cash Advances. Generally, Bank Cash Advances consist of ATM Cash                         Balance Transfers, new Cash Advances and Transaction Fees; and (4) subtract
Advances, Over the Counter (OTC) Cash Advances, Same-Day Online Cash                          applicable payments and credits. If any daily balance is less than zero we treat
Advances, Overdraft Protection Cash Advances, Cash Equivalents, and                           it as zero.
applicable transaction fees.                                                                  To calculate a daily balance for each day prior to this statement's billing cycle
MISCELLANEOUS - Promotional Rate End Date: This date is based on a                            that had a Pre-Cycle balance: (1) we take the beginning balance attributable
future statement closing date. If you change your payment due date, this date                 solely to Pre-Cycle balance (which will be zero on the transaction date of the
could change. The New Balance Total which appears on this statement is not a                  first Pre-Cycle balance); (2) add an amount equal to the applicable Daily
payoff amount and may be subject to additional interest charges when you pay                  Periodic Rate multiplied by the previous day's daily balance; (3) and add only
in full after your statement closing date. Virtual cards are the digital form of              the applicable Pre-Cycle balances and their related Transaction Fees. We
your eligible physical credit cards stored within a digital wallet.                           exclude from this calculation all transactions posted in previous billing cycles.


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                                                                                              For the complete terms and conditions of your account, consult your Credit
                                                                                              Card Agreement. This account is issued and administered by Bank of America.
                                                                                              Bank of America is a registered trademark of Bank of America Corporation.




PAYMENTS - We credit mailed payments as of the date received, if the payment is: (1) received by 5 p.m. local time at the address shown on the remittance portion of your
monthly statement; (2) paid with a check drawn in U.S. dollars on a U.S. financial institution or a U.S. dollar money order; and (3) sent in the return envelope with only the remittance
portion of your statement accompanying it. Payments received by mail after 5 p.m. local time at the remittance address on any day including the Payment Due Date, but that otherwise
meet the above requirements, will be credited as of the next day. Payments made online or by phone will be credited as of the date of receipt if made by 5 p.m. Central. Credit for any
other payments may be delayed up to five days. Cash payments made with our tellers will only be accepted with a valid identification (ID).
No payment shall operate as an accord and satisfaction without the prior written approval of one of our Senior Officers.
We process most payment checks electronically by using the information found on your check. Each check authorizes us to create a one-time electronic funds transfer (or process it as a
check or paper draft). Funds may be withdrawn from your account as soon as the same day we receive your payment. Checks are not returned to you.
If you have authorized us to pay your credit card bill automatically from your savings or checking account with us, you can stop the payment on any amount you think is wrong. To stop
payment, your letter must reach us at least three business days before the automatic payment is scheduled to occur.




                                               Change of Address/Phone number: Online at www.bankofamerica.com




                                                      Please do not add any written communication in this space.




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Important Messages
You can request a copy of this statement in either Braille or Large Print by calling 800.432.1000 or going to bankofamerica.com and enter
Visually Impaired Access from the home page.




  Your Reward Summary
                                                                                        Make the most of your
              .01   Base Cash Back Earned
                                                                                       rewards program today!
             7.53   Total Cash Back Available




                                                                                                                                  Page 4 of 4
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